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PLAMEX INVESTMENT LLC                          Case 8:21-bk-10958-ES                                Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                                                         Desc
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Current and Inactive tenants

                                                                                                                                                                                         Reserve
                                                                                                                                                                                      Balance as of                       over 90 days,
     Suite ID                Occupant Name                 Amount         Current       1 Month      2 Months     3 Months          4 Months     Current Tenants   Inactive Tenants    12/31/2020      NET Receivable          AR          BD reserve          Net
BLDG ID: 200PMI
A1A2          Han's Toy                                $    85,464.77    $ 2,590.63    $ 2,590.63    $ 2,590.63   $ 2,590.63    $    75,102.25   $    85,464.77                       $    67,089.70   $     18,375.07    $    77,692.88   $ 67,089.70    $   10,603.18
A3            Capital Cap & Embroidery                                                                                                                      -                               7,892.14         (7,892.14)   $          -     $   7,892.14   $   (7,892.14)
A4            Stephanie's Lingerie                           2,117.96           -             -             -       1,301.32            816.64         2,117.96                                  -            2,117.96    $     2,117.96   $        -     $    2,117.96
A5A6          Pink Melon                                        30.42           -             -           30.42          -                 -              30.42                                  -               30.42    $          -     $        -     $         -
A7            Cell Mart                                     11,304.21      3,285.06      2,898.56      3,285.06        50.06          1,785.47        11,304.21                                  -           11,304.21    $     1,835.53   $        -     $    1,835.53
A9            Enciso Realty                                  6,600.50      1,245.40      1,245.40      1,245.40     1,245.40          1,618.90         6,600.50                             1,429.50          5,171.00    $     2,864.30   $   1,429.50   $    1,434.80
B10C10        Primo's Pet Shop                               1,879.11           -             -             -            -            1,879.11         1,879.11                             2,321.92           (442.81)   $     1,879.11   $   2,321.92   $     (442.81)
B3C3          Kid's Love                                                                                                                                    -                               2,755.66         (2,755.66)   $          -     $   2,755.66   $   (2,755.66)
B4C4          Marshmallow                                                                                                                                   -                               2,846.51         (2,846.51)   $          -     $   2,846.51   $   (2,846.51)
B6            Rachel's Secrets                               2,882.18      2,882.18           -             -            -                 -           2,882.18                                               2,882.18    $          -     $        -     $         -
B7C7          BW Sports & Hobbies                            5,251.88      3,037.67           -        2,214.21          -                 -           5,251.88                               624.04          4,627.84    $          -     $     624.04   $     (624.04)
B9C9          Sunny Fashion                                 19,444.66      1,980.11      1,980.11      1,980.11     1,980.11         11,524.22        19,444.66                             3,134.74         16,309.92    $    13,504.33   $   3,134.74   $   10,369.59
C1            Fancy Jewelry                                 15,292.62      3,023.67      3,023.67      3,023.67        73.68          6,147.93        15,292.62                                              15,292.62    $     6,221.61   $        -     $    6,221.61
C5C6          Virginia Jovel                                11,285.34      4,048.43        109.43        109.43       109.43          6,908.62        11,285.34                                              11,285.34    $     7,018.05   $        -     $    7,018.05
C8            Sung Dong Lee                                   (500.00)      (500.00)          -             -            -                 -            (500.00)                                               (500.00)   $          -     $        -     $         -
D1            Come Again                                    24,247.66      2,506.83      2,506.83      2,506.83     2,506.83         14,220.34        24,247.66                            19,416.22          4,831.44    $    16,727.17   $ 19,416.22    $   (2,689.05)
D2            Boom Boom Sounds                              43,978.86      2,850.35      2,850.35      2,850.35     2,850.35         32,577.46        43,978.86                            32,533.41         11,445.45    $    35,427.81   $ 32,533.41    $    2,894.40
D3            All City Footwear                              1,876.76        468.69        468.69        468.69       468.69              2.00         1,876.76                                               1,876.76    $       470.69   $        -     $      470.69
D4            Robert's Fashion                              26,443.20      4,907.20      4,907.20      4,907.20       389.43         11,332.17        26,443.20                             6,468.17         19,975.03    $    11,721.60   $   6,468.17   $    5,253.43
D5E4          Chin Shoes                                    18,203.46      4,589.56      4,589.56      4,589.56     4,434.78               -          18,203.46                             7,591.04         10,612.42    $     4,434.78   $   7,591.04   $   (3,156.26)
D6            L' Dorado Jewelry                              7,940.74      2,834.14      2,834.14           -            -            2,272.46         7,940.74                                  -            7,940.74    $     2,272.46   $        -     $    2,272.46
D9            ROB'S MX BASEBALL                              4,866.48      1,689.14           -             -       1,631.42          1,545.92         4,866.48                             2,672.22          2,194.26    $     3,177.34   $   2,672.22   $      505.12
E1            Azteca Jewelry                                 6,365.79      2,480.36         61.36         61.36        61.36          3,701.35         6,365.79                                               6,365.79    $     3,762.71   $        -     $    3,762.71
E2            Farmacia Naturista Mexicana                    9,467.27      4,500.00           -             -            -            4,967.27         9,467.27                             5,420.78          4,046.49    $     4,967.27   $   5,420.78   $     (453.51)
E5E6          Kiddie World                                  27,413.06      3,128.92      3,128.92      3,128.92     3,128.92         14,897.38        27,413.06                             4,695.85         22,717.21    $    18,026.30   $   4,695.85   $   13,330.45
E8            Inti Arts & Craft                                497.84           -             -             -            -              497.84           497.84                                  -              497.84    $       497.84   $        -     $      497.84
F1            Lucky Accessories                                                                                                                             -                               9,210.60         (9,210.60)   $          -     $   9,210.60   $   (9,210.60)
F10G11        Mauro Valdez Sandoval                         15,092.97      3,151.18      3,151.18      3,151.18       299.98          5,339.45        15,092.97                             2,087.32         13,005.65    $     5,639.43   $   2,087.32   $    3,552.11
F2            333 Fashion                                      582.60        582.60           -             -            -                 -             582.60                             4,498.70         (3,916.10)   $          -     $   4,498.70   $   (4,498.70)
F3G3G4        O Fashion Plus                                                                                                                                -                               5,600.62         (5,600.62)   $          -     $   5,600.62   $   (5,600.62)
F5F6          Joy Sports Wear                               26,162.01      5,445.80      5,445.80      5,445.80     1,127.84          8,696.77        26,162.01                             2,048.01         24,114.00    $     9,824.61   $   2,048.01   $    7,776.60
F7G7          TS Discount                                   35,488.58      3,757.22      3,757.22      3,757.22     3,757.22         20,459.70        35,488.58                             8,145.89         27,342.69    $    24,216.92   $   8,145.89   $   16,071.03
F8            Antonio De La Cruz - Ave Beauty Supply         3,913.68      2,346.90           -             -            -            1,566.78         3,913.68                                  -            3,913.68    $     1,566.78   $        -     $    1,566.78
F9            Mauro Valdez Sandoval                          7,213.37      1,856.97      1,856.97         56.97          -            3,442.46         7,213.37                               425.42          6,787.95    $     3,442.46   $     425.42   $    3,017.04
G5G6          Kiddie World II                               34,462.25      4,006.08      4,006.08      4,006.08     4,006.08         18,437.93        34,462.25                             7,181.36         27,280.89    $    22,444.01   $   7,181.36   $   15,262.65
G8AB          Sport Time                                    36,179.27      3,620.48      3,620.48      3,620.48     3,620.48         21,697.35        36,179.27                            12,636.76         23,542.51    $    25,317.83   $ 12,636.76    $   12,681.07
H2            Enciso Realty                                 (3,987.20)          -       (3,987.20)          -            -                 -          (3,987.20)                              805.35         (4,792.55)   $          -     $     805.35   $     (805.35)
H3            Guillermo CamberosPreciado                    16,587.67      2,139.35      2,139.35      2,139.35     2,139.35          8,030.27        16,587.67                             9,001.48          7,586.19    $    10,169.62   $   9,001.48   $    1,168.14
H7I6          Top Fashion                                        0.01           -            0.01           -            -                 -               0.01                             9,055.91         (9,055.90)   $          -     $   9,055.91   $   (9,055.91)
H8            Diana Michel                                  30,891.59      1,795.66      1,795.66      1,795.66     1,795.66         23,708.95        30,891.59                            11,931.18         18,960.41    $    25,504.61   $ 11,931.18    $   13,573.43
H9            Victoria                                       6,039.31      2,508.56           -             -            -            3,530.75         6,039.31                             1,235.79          4,803.52    $     3,530.75   $   1,235.79   $    2,294.96
I1I2          Pro Sports                                     2,357.52      2,357.52           -             -            -                 -           2,357.52                                               2,357.52    $          -     $        -     $         -
I5            La Casa De La Novia                           12,499.89      2,042.08      2,042.08      2,042.08     2,042.08          4,331.57        12,499.89                             2,571.64          9,928.25    $     6,373.65   $   2,571.64   $    3,802.01
I7            Lucky Gold                                     3,641.52      2,242.70      1,398.82           -            -                 -           3,641.52                               248.15          3,393.37    $          -     $     248.15   $     (248.15)
I8            Diz N Dat                                      9,549.08      2,387.27      2,387.27      2,387.27     2,387.27               -           9,549.08                                               9,549.08    $     2,387.27   $        -     $    2,387.27
I9H10         Flores Bautista Gloria O.                     (3,666.54)    (3,666.54)          -             -            -                 -          (3,666.54)                                             (3,666.54)   $          -     $        -     $         -
J10           Pescaderia y Cocina El Malecon                37,532.59      5,659.35      5,659.35      5,659.35     5,514.06         15,040.48        37,532.59                            19,656.24         17,876.35    $    20,554.54   $ 19,656.24    $      898.30
J1K2K3        Sung Ryong Lee                                 2,208.50        552.17        552.17        552.17       551.99               -           2,208.50                                  -            2,208.50    $       551.99   $        -     $      551.99
J6K7          Street Cellular                                    0.01           -            0.01           -            -                 -               0.01                               160.44           (160.43)   $          -     $     160.44   $     (160.44)
J7J8K8K9      Shoes 4 Less                                  50,848.11      4,637.10      4,637.10      4,637.10     4,637.10         32,299.71        50,848.11                            21,745.19         29,102.92    $    36,936.81   $ 21,745.19    $   15,191.62
K4            Sweet Stone Jewelry                           (2,645.06)    (2,645.06)          -             -            -                 -          (2,645.06)                                             (2,645.06)   $          -     $        -     $         -
L1            One Hour Photo                                34,819.89      2,208.22      2,208.22      2,208.22     2,208.22         25,987.01        34,819.89                            14,658.52         20,161.37    $    28,195.23   $ 14,658.52    $   13,536.71
L7            Bebe Crafts                                   21,789.30      1,473.96      1,473.96      1,473.96     1,473.96         15,893.46        21,789.30                             5,706.00         16,083.30    $    17,367.42   $   5,706.00   $   11,661.42
L8            Lizette M. Cortez                             29,657.72      3,084.27      3,084.27      3,084.27     3,084.27         17,320.64        29,657.72                             7,466.95         22,190.77    $    20,404.91   $   7,466.95   $   12,937.96
L9            Art Nails                                     19,918.94      1,753.59      1,753.59      1,753.59     1,753.59         12,904.58        19,918.94                             5,256.86         14,662.08    $    14,658.17   $   5,256.86   $    9,401.31
M1            MoMo Trading                                  57,875.41      5,291.09      5,291.09      5,291.09     5,291.09         36,711.05        57,875.41                            26,947.35         30,928.06    $    42,002.14   $ 26,947.35    $   15,054.79
M2            Angel's Bridal                               145,399.55      4,222.60      4,222.60      4,222.60     4,222.60        128,509.15       145,399.55                           122,342.12         23,057.43    $   132,731.75   $ 122,342.12   $   10,389.63


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PLAMEX INVESTMENT LLC                             Case 8:21-bk-10958-ES                       Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                                                     Desc
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Current and Inactive tenants

                                                                                                                                                                                Reserve
                                                                                                                                                                             Balance as of                      over 90 days,
    Suite ID                   Occupant Name            Amount        Current     1 Month      2 Months    3 Months       4 Months     Current Tenants    Inactive Tenants    12/31/2020     NET Receivable          AR          BD reserve          Net
M4A              Big Discount                                  -           -            -            -           -               -                 -                             3,709.66          (3,709.66)   $          -     $   3,709.66   $   (3,709.66)
O234             Milbes Men's Wear                       26,786.71    4,355.36     4,355.36     4,355.36    4,355.36        9,365.27         26,786.71                          11,981.78          14,804.93    $    13,720.63   $ 11,981.78    $    1,738.85
O6               Luis Fernando Alcantar-Rojo             63,059.77    3,019.44     3,019.44     3,019.44    3,019.44       50,982.01         63,059.77                          30,389.90          32,669.87    $    54,001.45   $ 30,389.90    $   23,611.55
P10              Pang Pang Donuts                        33,070.29    1,933.91     1,933.91     1,933.91    1,933.91       25,334.65         33,070.29                          21,568.61          11,501.68    $    27,268.56   $ 21,568.61    $    5,699.95
P10A             Happy Chinese                           15,024.91    1,909.18     1,909.18     1,909.18    1,909.18        7,388.19         15,024.91                             218.36          14,806.55    $     9,297.37   $     218.36   $    9,079.01
P10B             TACOTENTO                                3,655.83    2,166.09          -       1,489.74         -               -            3,655.83                           2,399.70           1,256.13    $          -     $   2,399.70   $   (2,399.70)
P3Q4             Shoes 4 Less                            45,086.85    4,138.03     4,138.03     4,138.03    4,138.03       28,534.73         45,086.85                          14,942.10          30,144.75    $    32,672.76   $ 14,942.10    $   17,730.66
P4Q5             El Azul Jewelry                          9,585.62    3,852.66     1,342.95          -           -          4,390.01          9,585.62                                              9,585.62    $     4,390.01   $        -     $    4,390.01
P7P8             Perfecto Nails                          34,828.11    2,728.74     2,728.74     2,728.74    2,728.74       23,913.15         34,828.11                           8,327.25          26,500.86    $    26,641.89   $   8,327.25   $   18,314.64
P9               Twin Scoop Ice Cream                     7,957.55    2,160.06     2,160.06     2,160.06    1,477.37             -            7,957.55                                -             7,957.55    $     1,477.37   $        -     $    1,477.37
Q1               Lynwood Alteration                                                                                                                -                               373.68            (373.68)   $          -     $     373.68   $     (373.68)
Q10              Sun Hye Chung                            8,231.69    1,769.69     1,769.69     1,769.69    1,804.77        1,117.85          8,231.69                           3,882.54           4,349.15    $     2,922.62   $   3,882.54   $     (959.92)
R2R3             Usama Awadallah                         20,068.77    3,224.11     3,224.11     3,224.11    3,224.11        7,172.33         20,068.77                           4,072.33          15,996.44    $    10,396.44   $   4,072.33   $    6,324.11
S123             Ray's Fashion                           46,991.97    4,257.38     4,257.38     4,257.38    4,257.38       29,962.45         46,991.97                          27,372.51          19,619.46    $    34,219.83   $ 27,372.51    $    6,847.32
S4T4             Kat's Lingerie                           7,951.26    1,846.58     1,846.58       606.27         -          3,651.83          7,951.26                             534.20           7,417.06    $     3,651.83   $     534.20   $    3,117.63
S6S7             Diana Roman                              5,381.62         -            -            -           -          5,381.62          5,381.62                                              5,381.62    $     5,381.62   $        -     $    5,381.62
T123             99 Cent Store & Up                      16,004.99    3,946.73     3,946.73     3,946.73      296.87        3,867.93         16,004.99                           4,176.25          11,828.74    $     4,164.80   $   4,176.25   $      (11.45)
T7U7             Mr. Hammer Shoes                              -           -            -            -           -               -                 -                             2,430.18          (2,430.18)   $          -     $   2,430.18   $   (2,430.18)
VCT01            Hoon Ko                                       -           -            -            -           -               -                 -                             4,250.00          (4,250.00)   $          -     $   4,250.00   $   (4,250.00)
VCT02            Roberto Navarro                          1,500.00      750.00       750.00          -           -               -            1,500.00                                              1,500.00    $          -     $        -     $         -
VCT04            MARIA LUISA ROJO ALVAREZ                 5,750.00    1,250.00     1,250.00          -           -          3,250.00          5,750.00                                              5,750.00    $     3,250.00   $        -     $    3,250.00
VCT08            Leticia Torres                          36,000.00    2,000.00     2,000.00     2,000.00    2,000.00       28,000.00         36,000.00                          14,000.00          22,000.00    $    30,000.00   $ 14,000.00    $   16,000.00
VCT09            Art Craft & Religious                   22,500.00    1,500.00     1,500.00     1,500.00    1,500.00       16,500.00         22,500.00                           7,500.00          15,000.00    $    18,000.00   $   7,500.00   $   10,500.00
VCT13            Jesus Garcia-Marcos                      3,900.00      500.00       500.00       500.00      500.00        1,900.00          3,900.00                           2,200.00           1,700.00    $     2,400.00   $   2,200.00   $      200.00
VCT16            La Voz De Chivas                          (500.00)    (500.00)         -            -           -               -             (500.00)                                              (500.00)   $          -     $        -     $         -
VCT26            Cosmetic & Perfume                       2,200.00         -            -            -           -          2,200.00          2,200.00                           2,700.00            (500.00)   $     2,200.00   $   2,700.00   $     (500.00)
VKIO18           Jesus Garcia                            20,073.00    1,300.00     1,300.00     1,300.00    1,300.00       14,873.00         20,073.00                           9,673.00          10,400.00    $    16,173.00   $   9,673.00   $    6,500.00
VKIO23           MARCO ANTONIO JUAREZ CRUZ                    4.00         -           4.00          -           -               -                4.00                                                  4.00    $          -     $        -     $         -
VKIO24           Mundo de Artesanias                     16,540.00    1,000.00     1,000.00     1,000.00    1,000.00       12,540.00         16,540.00                           9,540.00           7,000.00    $    13,540.00   $   9,540.00   $    4,000.00
VKIO28           La Voz De Chivas                          (500.00)    (500.00)         -            -           -               -             (500.00)                                              (500.00)   $          -     $        -     $         -
VKIO29           Jesus Garcia                            14,874.16    1,000.00     1,000.00     1,000.00    1,000.00       10,874.16         14,874.16                           8,174.16           6,700.00    $    11,874.16   $   8,174.16   $    3,700.00
VKIOCARO         North American Amusements               22,925.62    1,432.86     1,432.86     1,432.86    1,432.86       17,194.18         22,925.62                           8,829.88          14,095.74    $    18,627.04   $   8,829.88   $    9,797.16
A4               Stephanie's Lingerie                       500.00         -            -            -           -            500.00                                500.00         500.00                -      $       500.00   $     500.00   $         -
A9               Enciso Realty                           13,736.21         -            -            -           -         13,736.21                             13,736.21      13,736.21                -      $    13,736.21   $ 13,736.21    $         -
B5               Ying Zi Xu                                 232.00         -            -            -           -            232.00                                232.00         232.00                -      $       232.00   $     232.00   $         -
B8               Sung Ryong Lee                           6,332.13         -            -            -           -          6,332.13                              6,332.13       6,332.13                -      $     6,332.13   $   6,332.13   $         -
D7               Joe's Sports Wear                             -           -            -            -           -               -                                     -              -                  -      $          -     $        -     $         -
D8               Kay K Mun (Old)                         15,983.75         -            -            -           -         15,983.75                             15,983.75      15,983.75                -      $    15,983.75   $ 15,983.75    $         -
D8               Tack Soo Chang                           5,821.20         -            -            -           -          5,821.20                              5,821.20       5,821.20                -      $     5,821.20   $   5,821.20   $         -
D9               Rosarios y Pulseras Estilo Sinaloa      12,430.80         -            -            -           -         12,430.80                             12,430.80      12,430.80                -      $    12,430.80   $ 12,430.80    $         -
E3               Top Fashion                             26,024.10         -            -            -           -         26,024.10                             26,024.10      12,447.13          13,576.97    $    26,024.10   $ 12,447.13    $   13,576.97
F10G11           Kitchen & Gift                                -           -            -            -           -               -                                     -              -                  -      $          -     $        -     $         -
F8               B & C Beauty Supply                      2,180.15         -            -            -           -          2,180.15                              2,180.15       2,180.15                -      $     2,180.15   $   2,180.15   $         -
G1               SK Shoes (Old)                           7,149.51         -            -            -           -          7,149.51                              7,149.51       7,149.51                -      $     7,149.51   $   7,149.51   $         -
H1               All Star Wireless                       44,997.07         -            -            -           -         44,997.07                             44,997.07      44,997.07                -      $    44,997.07   $ 44,997.07    $         -
H2               Enciso Realty                            3,049.47         -         829.07       829.07      829.07          562.26                              3,049.47                          3,049.47    $     1,391.33   $        -     $    1,391.33
H2               Enciso Realty                            5,697.96         -            -            -           -          5,697.96                              5,697.96       5,697.96                -      $     5,697.96   $   5,697.96   $         -
I9H10            Games Anytime                            7,704.92         -            -            -           -          7,704.92                              7,704.92       7,704.92                -      $     7,704.92   $   7,704.92   $         -
J2K3             Han's Toys (old)                              -           -            -            -           -               -                                     -              -                  -      $          -     $        -     $         -
J4K5             Manuel Nieblas Jr. & Elizabeth Adame          -           -            -            -           -               -                                     -              -                  -      $          -     $        -     $         -
J4K5             Elizabeth Adame                          1,952.34         -            -            -           -          1,952.34                              1,952.34       1,952.34                -      $     1,952.34   $   1,952.34   $         -
J4K5             Hangers (old)                              333.33         -            -            -           -            333.33                                333.33         333.33                -      $       333.33   $     333.33   $         -
L2               Brenda Diaz Perez                       29,425.54         -            -            -           -         29,425.54                             29,425.54      29,425.54                -      $    29,425.54   $ 29,425.54    $         -
L2               Express Car Registration                21,090.28         -            -            -           -         21,090.28                             21,090.28      21,090.28                -      $    21,090.28   $ 21,090.28    $         -
M3               La Mejor Carniceria Corp.                9,360.98         -            -            -           -          9,360.98                              9,360.98       9,360.98                -      $     9,360.98   $   9,360.98   $         -
O6               Gregorio Juarez & Uriel Juarez           2,911.87         -            -            -           -          2,911.87                              2,911.87       2,911.87                -      $     2,911.87   $   2,911.87   $         -
O8               Soo Yoo (old)                              128.24         -            -            -           -            128.24                                128.24         128.24                -      $       128.24   $     128.24   $         -
P10B             El Palenque Restaurant                 105,983.91         -            -            -           -        105,983.91                            105,983.91     105,983.91                -      $   105,983.91   $ 105,983.91   $         -


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PLAMEX INVESTMENT LLC                          Case 8:21-bk-10958-ES                             Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                                                          Desc
AR Aging as of 06/30/21                                                                          Main Document    Page 10 of 105
Current and Inactive tenants

                                                                                                                                                                                        Reserve
                                                                                                                                                                                     Balance as of                      over 90 days,
    Suite ID                   Occupant Name           Amount          Current       1 Month      2 Months      3 Months        4 Months      Current Tenants    Inactive Tenants     12/31/2020     NET Receivable          AR           BD reserve            Net
P5Q6             Kay K Mun (old)                          3,624.72           -             -             -             -          3,624.72                               3,624.72         3,624.72               -      $ 3,624.72        $   3,624.72    $          -
Q8Q9A            La Casa De Los Bautizos                  9,067.76           -             -             -             -          9,067.76                               9,067.76         9,067.76               -      $ 9,067.76        $   9,067.76    $          -
R2R3             OK Fashion (old)                        14,346.62           -             -             -             -         14,346.62                              14,346.62        14,346.62               -      $ 14,346.62       $ 14,346.62     $          -
S10              Norma L Villa Gomez                        475.15           -             -             -             -            475.15                                 475.15           475.15               -      $     475.15      $     475.15    $          -
S6               Sung Ok Hwang (old)                      2,407.17           -             -             -             -          2,407.17                               2,407.17         2,407.17               -      $ 2,407.17        $   2,407.17    $          -
S6S7             Jincheng Chen                            4,151.50           -             -             -             -          4,151.50                               4,151.50         4,151.50               -      $ 4,151.50        $   4,151.50    $          -
S7               Sung Ok Hwang (old)                      1,087.45           -             -             -             -          1,087.45                               1,087.45         1,087.45               -      $ 1,087.45        $   1,087.45    $          -
S8               Express Car Registration                 2,605.05           -             -             -             -          2,605.05                               2,605.05         2,605.05               -      $ 2,605.05        $   2,605.05    $          -
T123             99 cent Store                          100,142.09           -             -             -             -        100,142.09                             100,142.09       100,142.09               -      $ 100,142.09      $ 100,142.09    $          -
T6               Isabel's Children                       26,513.74           -             -             -             -         26,513.74                              26,513.74        26,513.74               -      $ 26,513.74       $ 26,513.74     $          -
T89U8            Gabriel's Fashion                        2,307.58           -             -             -             -          2,307.58                               2,307.58         2,307.58               -      $ 2,307.58        $   2,307.58    $          -
U9               Arcade                                  72,956.54           -             -             -             -         72,956.54                              72,956.54        50,735.39         22,221.15    $ 72,956.54       $ 50,735.39     $    22,221.15
VCT02            American Media LLC                       6,050.00           -             -             -             -          6,050.00                               6,050.00         6,050.00               -      $ 6,050.00        $   6,050.00    $          -
VCT06            Masud Khan                               1,250.00           -             -             -             -          1,250.00                               1,250.00         1,250.00               -      $ 1,250.00        $   1,250.00    $          -
VCT08            La Jarochita Gift & Art                  8,344.69           -             -             -             -          8,344.69                               8,344.69         8,344.69               -      $ 8,344.69        $   8,344.69    $          -
VCT15            Ernesto Jimenez Figueroa                   522.50           -             -             -             -            522.50                                 522.50           522.50               -      $     522.50      $     522.50    $          -
VCTCHRO          Carrera Consessions                      3,647.00           -             -             -             -          3,647.00                               3,647.00         5,210.00         (1,563.00)   $ 3,647.00        $   5,210.00    $    (1,563.00)
VKIO23           Noe Florentino Nivon                       750.00           -             -             -             -            750.00                                 750.00           750.00               -      $     750.00      $     750.00    $          -
                                        BLDG 200PMI   2,034,995.35    165,400.28    137,889.02    135,376.85    111,442.34    1,484,886.86       1,451,720.03          583,275.32     1,226,752.57        808,242.78    1,596,329.20      1,226,752.57        369,576.63
BLDG ID: 200PML
11201         Jack In The Box #3521                          1.00           1.00           -             -             -               -                1.00                                  -                 1.00    $          -      $        -      $        -
11215_1       Skechers U.S.A., Inc.                    (14,923.60)    (14,923.58)          -           (0.01)          -             (0.01)       (14,923.60)                               (0.01)        (14,923.59)   $        (0.01)   $      (0.01)   $        -
11215_3       Yogurtland                                 1,940.06            -             -             -             -          1,940.06          1,940.06                                  -             1,940.06    $     1,940.06    $        -      $   1,940.06
11215_4       Real De Oaxaca                           241,182.83      13,223.84     14,923.22     11,811.05     14,854.97      186,369.75        241,182.83                            99,826.31         141,356.52    $   201,224.72    $ 99,826.31     $ 101,398.41
11221_A       BUBBLES APPAREL, INC                     337,017.92      22,182.06     22,182.06     15,056.63     22,182.06      255,415.11        337,017.92                           113,212.35         223,805.57    $   277,597.17    $ 113,212.35    $ 164,384.82
11225_2       Sri Eyebrow Threading and Nails           49,978.66       5,158.47      5,158.47      3,714.45      5,158.47       30,788.80         49,978.66                            12,125.65          37,853.01    $    35,947.27    $ 12,125.65     $ 23,821.62
11225_3       Shoes 4 Ever                              45,479.04       4,838.54      4,838.54      4,838.54      4,838.54       26,124.88         45,479.04                            14,340.18          31,138.86    $    30,963.42    $ 14,340.18     $ 16,623.24
11245         Food 4 Less # 324                         73,012.22      41,820.70     41,820.70    (10,629.18)          -               -           73,012.22                                               73,012.22    $          -      $        -      $        -
11247         Fashion Qrew                              51,618.00            -             -             -             -         51,618.00         51,618.00                            37,618.16          13,999.84    $    51,618.00    $ 37,618.16     $ 13,999.84
11255         Taco Bell #5291                          (18,430.12)    (15,325.22)          -             -             -         (3,104.90)       (18,430.12)                                 -           (18,430.12)   $    (3,104.90)   $        -      $ (3,104.90)
11301         PLS Check Cashers                         21,777.08            -             -             -             -         21,777.08         21,777.08                            29,380.37          (7,603.29)   $    21,777.08    $ 29,380.37     $ (7,603.29)
11325         Rite Aid Corp. # 05476                     3,963.63            -             -        3,977.00           -            (13.37)         3,963.63                                  -             3,963.63    $       (13.37)   $        -      $     (13.37)
11335         Rainbow Beauty                             5,399.40            -             -        2,399.22           -          3,000.18          5,399.40                                  -             5,399.40    $     3,000.18    $        -      $   3,000.18
11337         TJ Nails Spa                              44,528.21       5,248.40      5,248.40      3,718.44      5,248.40       25,064.57         44,528.21                            12,561.42          31,966.79    $    30,312.97    $ 12,561.42     $ 17,751.55
11369         Star Buffet Lynwood Inc                  297,602.57            -             -       (6,898.42)    24,512.52      279,988.47        297,602.57                           128,719.56         168,883.01    $   304,500.99    $ 128,719.56    $ 175,781.43
11391         Domino's Pizza                              (436.99)           -             -         (436.99)          -               -             (436.99)                                                (436.99)   $          -      $        -      $        -
32_101        SCE Federal Credit Union                 (16,758.22)    (16,758.22)          -             -             -               -          (16,758.22)                                             (16,758.22)   $          -      $        -      $        -
32_103        DF Wireless                                7,645.34       7,645.34           -             -             -               -            7,645.34                             4,943.15           2,702.19    $          -      $   4,943.15    $ (4,943.15)
32_201        Oficina Jalisco                             (597.83)       (404.56)          -         (193.27)          -               -             (597.83)                                                (597.83)   $          -      $        -      $        -
32_202        Casa Colima                                9,719.73       2,573.69      2,573.69      2,573.69         18.00        1,980.66          9,719.73                                                9,719.73    $     1,998.66    $        -      $   1,998.66
CCA6          Chuck-E-Cheese #377                        (7,642.45)          -             -       (7,641.97)          -             (0.48)         (7,642.45)                                             (7,642.45)   $      (0.48)     $        -      $        (0.48)
11215_2       Nueva Vida Healthcare Center, Inc                -             -             -             -             -               -                                      -               -                  -      $        -        $        -      $          -
11221_A       G-Stage                                   266,735.08           -             -             -             -        266,735.08                             266,735.08      266,735.08                -      $ 266,735.08      $ 266,735.08    $          -
11221_B       GRUPO PAKAR LLC                            (2,148.70)          -       (2,148.70)          -             -               -                                (2,148.70)                         (2,148.70)   $        -        $        -      $          -
11221_B       Pavi Italy                                143,876.98           -             -             -             -        143,876.98                             143,876.98      143,876.98                -      $ 143,876.98      $ 143,876.98    $          -
11221_C       Sicrea International, LLC                  (2,894.37)          -       (2,894.37)          -             -               -                                (2,894.37)                         (2,894.37)   $        -        $        -      $          -
11225_1       Pink & Punk II                             77,279.73           -             -             -             -         77,279.73                              77,279.73       77,279.73                -      $ 77,279.73       $ 77,279.73     $          -
11225_4       Chung Sik Park                            177,270.35           -             -             -             -        177,270.35                             177,270.35      177,270.35                -      $ 177,270.35      $ 177,270.35    $          -
11225_4       CASA JALISCO                               17,745.18           -             -             -             -         17,745.18                              17,745.18       17,745.18                -      $ 17,745.18       $ 17,745.18     $          -
11331         Zermat USA Inc.                            (3,313.21)          -       (3,313.21)          -             -               -                                (3,313.21)                         (3,313.21)   $        -        $        -      $          -
32_202        Fundacion Comunitaria Oaxaca               14,116.47           -             -             -             -         14,116.47                              14,116.47        14,116.47               -      $ 14,116.47       $ 14,116.47     $          -
                                        BLDG 200PML   1,820,743.99     55,280.46     88,388.80     22,289.18     76,812.96    1,577,972.59       1,132,076.48          688,667.51     1,149,750.93        670,993.06    1,654,785.55      1,149,750.93        505,034.62
BLDG ID: 200PMO
A2A           Time Warner Cable                        (27,702.72)    (18,087.62)          -       (9,615.10)          -               -          (27,702.72)                                 -           (27,702.72)   $       -         $        -      $        -
A2C           Pho VNK                                  110,300.58       7,208.49      7,208.49      3,174.85      7,208.49       85,500.26        110,300.58                            91,828.56          18,472.02    $ 92,708.75       $ 91,828.56     $     880.19
B11300        Imperial Market                           51,654.19      17,323.50           -             -       16,538.65       17,792.04         51,654.19                                  -            51,654.19    $ 34,330.69       $        -      $ 34,330.69
B11301        Marquez Trading                          118,058.30       8,182.96      8,109.04      5,012.34      8,106.57       88,647.39        118,058.30                           115,678.15           2,380.15    $ 96,753.96       $ 115,678.15    $ (18,924.19)
B11302        Bionicos La Huerta                         1,069.93       1,069.93           -             -             -               -            1,069.93                                                1,069.93    $       -         $        -      $        -


                                                                                                                             Page 3 of 6
PLAMEX INVESTMENT LLC                              Case 8:21-bk-10958-ES                           Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                                                          Desc
AR Aging as of 06/30/21                                                                            Main Document    Page 11 of 105
Current and Inactive tenants

                                                                                                                                                                                          Reserve
                                                                                                                                                                                       Balance as of                      over 90 days,
    Suite ID                   Occupant Name                  Amount        Current      1 Month      2 Months      3 Months        4 Months     Current Tenants    Inactive Tenants    12/31/2020     NET Receivable          AR           BD reserve           Net
B11305           Jose Gutierrez Torres                           457.47        457.47          -             -            -                -             457.47                                                 457.47    $          -      $        -      $         -
B11306           BM Classic Portraits                          6,883.06      3,289.84       126.53           -            -           3,466.69         6,883.06                            2,428.15           4,454.91    $     3,466.69    $   2,428.15    $    1,038.54
B11307/9         Jose Gutierrez-Torres                            11.48         11.48          -             -            -                -              11.48                                                  11.48    $          -      $        -      $         -
B11310           Tamales                                          79.79         79.79          -             -            -                -              79.79                                                  79.79    $          -      $        -      $         -
B11311           Bionicos La Huerta                              299.51        299.51          -             -            -                -             299.51                                                 299.51    $          -      $        -      $         -
B11312           Delicias Oaxaquenas                          25,777.93      5,074.56     4,837.89      4,953.26     4,835.62         6,076.60        25,777.93                            6,822.84          18,955.09    $    10,912.22    $   6,822.84    $    4,089.38
B11313           Guillermo Reveles - Plaza Flower's #2        (3,496.96)    (3,496.96)         -             -            -                -          (3,496.96)                                             (3,496.96)   $          -      $        -      $         -
B11315           LA Michoacana                                47,820.54      4,269.55     4,269.55      2,917.58     4,269.55        32,094.31        47,820.54                           11,344.96          36,475.58    $    36,363.86    $ 11,344.96     $   25,018.90
B11316           Farmacia Natural                               (102.88)       (51.44)      (51.44)          -            -                -            (102.88)                                               (102.88)   $          -      $        -      $         -
B11317           Jose L. Gomez                                26,275.74      1,504.65     1,504.65      1,504.65     1,504.65        20,257.14        26,275.74                           21,505.22           4,770.52    $    21,761.79    $ 21,505.22     $      256.57
B11323           Aldo's Key Shop                              13,985.45      1,991.01     1,991.01      1,991.01     1,991.01         6,021.41        13,985.45                            5,416.36           8,569.09    $     8,012.42    $   5,416.36    $    2,596.06
B11324           Airbrush Nation                               3,998.74      1,969.34          -         (139.94)         -           2,169.34         3,998.74                                               3,998.74    $     2,169.34    $        -      $    2,169.34
B13001           Tortas Ahogadas                              72,094.79      3,122.13     3,122.13      2,083.21     3,122.13        60,645.19        72,094.79                           43,787.02          28,307.77    $    63,767.32    $ 43,787.02     $   19,980.30
B13002           Mariscos El Rey                                (600.00)      (600.00)         -             -            -                -            (600.00)                                               (600.00)   $          -      $        -      $         -
B13003           Maria Elena Gutierrez Torres                 11,797.42      3,932.50     7,864.92           -            -                -          11,797.42                                              11,797.42    $          -      $        -      $         -
B13007           Rinconcito Poblano                          163,108.11      5,223.95     4,981.61      3,434.07     4,981.61       144,486.87       163,108.11                          129,809.62          33,298.49    $   149,468.48    $ 129,809.62    $   19,658.86
B13008           Happy Rice                                    3,186.78      3,186.78          -             -            -                -           3,186.78                               (0.00)          3,186.78    $          -      $      (0.00)   $        0.00
B13009           El Pollo Real                                73,348.39      4,027.27     4,027.27      2,723.93     4,027.27        58,542.65        73,348.39                           34,897.90          38,450.49    $    62,569.92    $ 34,897.90     $   27,672.02
B21101           Cafe Canela                                  (2,158.73)          -            -       (2,158.73)         -                -          (2,158.73)                                             (2,158.73)   $          -      $        -      $         -
B21102           VERONICA'S INSURANCE                         (3,760.87)    (3,760.87)         -             -            -                -          (3,760.87)                                             (3,760.87)   $          -      $        -      $         -
B21103           SPACETEL LA INC - Cricket Wireless            9,704.23      1,361.18          -       (1,554.34)         -           9,897.39         9,704.23                            1,542.93           8,161.30    $     9,897.39    $   1,542.93    $    8,354.46
B21104           Say Cheese Photo                            144,165.53      8,150.97     8,150.97      5,042.30     8,150.97       114,670.32       144,165.53                           87,663.93          56,501.60    $   122,821.29    $ 87,663.93     $   35,157.36
B21107           Pinky's Threading                            55,264.04      3,812.95     3,812.95      2,263.39     3,812.95        41,561.80        55,264.04                           17,626.03          37,638.01    $    45,374.75    $ 17,626.03     $   27,748.72
B21108           Elizabeth Adame                                 937.83           -            -          937.83          -                -             937.83                                                 937.83    $          -      $        -      $         -
B21109           Nueva Vision Optical                         157,200.97     5,079.12     5,079.12      3,524.78     5,079.12       138,438.83        157,200.97                         118,820.73          38,380.24    $   143,517.95    $ 118,820.73    $ 24,697.22
B21110           New Trends Clothing, Inc.                    180,046.70     6,829.75     6,829.75      3,721.08     6,829.75       155,836.37        180,046.70                         138,866.62          41,180.08    $   162,666.12    $ 138,866.62    $ 23,799.50
B21111           Jose Alan Sandoval                              (298.49)     (132.83)     (132.83)          -         (32.83)             -             (298.49)                                              (298.49)   $       (32.83)   $        -      $     (32.83)
B21202           New Trends Clothing, Inc.                      4,110.00     1,000.00     1,000.00      1,000.00          -           1,110.00          4,110.00                           1,110.00           3,000.00    $     1,110.00    $   1,110.00    $        -
B21203           Mike Kim / T-Mobile                                0.31         0.31          -             -            -                -                0.31                                                  0.31    $          -      $        -      $        -
B21204           Flor Paredes                                  26,105.19     3,126.94     3,126.94      1,572.60     3,126.94        15,151.77         26,105.19                           5,508.89          20,596.30    $    18,278.71    $   5,508.89    $ 12,769.82
B21206           Progreso Financiero                           (3,402.30)   (3,402.30)         -             -            -                -           (3,402.30)                                            (3,402.30)   $          -      $        -      $        -
B31000           Pretzeria                                     72,731.88     4,364.75     4,364.75      2,581.00     4,364.75        57,056.63         72,731.88                          29,112.16          43,619.72    $    61,421.38    $ 29,112.16     $ 32,309.22
B31001           Guillermo Reveles & Adan Reveles-Plaza Flowers11,944.29     2,308.69     2,308.69      1,858.38     2,308.69         3,159.84         11,944.29                             274.24          11,670.05    $     5,468.53    $     274.24    $   5,194.29
B31002           Boost Mobile                                   7,745.21          -            -        3,473.65     3,473.65           797.91          7,745.21                                              7,745.21    $     4,271.56    $        -      $   4,271.56
B31004           Dolex Dollar Express, Inc.                    (5,193.67)   (5,193.63)       (0.04)          -            -                -           (5,193.67)                                            (5,193.67)   $          -      $        -      $        -
B31005           Arlene's Fashions                             13,046.38     5,032.66       290.09           -            -           7,723.63         13,046.38                           7,082.36           5,964.02    $     7,723.63    $   7,082.36    $     641.27
B31006           La Parisina                                   13,457.13     5,537.99          -             -            -           7,919.14         13,457.13                           4,569.53           8,887.60    $     7,919.14    $   4,569.53    $   3,349.61
B31007           Beauty Zone                                   91,148.11     6,699.05     6,699.05      4,076.08     6,699.05        66,974.88         91,148.11                          31,704.13          59,443.98    $    73,673.93    $ 31,704.13     $ 41,969.80
B31008           MG Colombian Boutique                         15,882.39     6,064.34       162.14           -            -           9,655.91         15,882.39                           3,906.88          11,975.51    $     9,655.91    $   3,906.88    $   5,749.03
B4D104           The Children's Place                          79,806.25    17,603.78    17,603.78     17,603.78    15,353.78        11,641.13         79,806.25                          19,382.81          60,423.44    $    26,994.91    $ 19,382.81     $   7,612.10
B4E106           SO CAL PF LYNWOOD, LLC-Planet Fitness        450,201.81          -      56,117.80    (44,248.47)   56,117.80       382,214.68        450,201.81                          11,289.09         438,912.72    $   438,332.48    $ 11,289.09     $ 427,043.39
B7100            La Curacao                                    45,555.16          -            -             -            -          45,555.16         45,555.16                                             45,555.16    $    45,555.16    $        -      $ 45,555.16
B7101            Don Roberto Jewelers                             475.22       475.22          -             -            -                -              475.22                                                475.22    $          -      $        -      $        -
B7102            GRUPO CONCORDIA LA                            23,710.92     6,849.01     6,849.01     (2,505.03)         -          12,517.93         23,710.92                             517.93          23,192.99    $    12,517.93    $     517.93    $ 12,000.00
B8100            La Huasteca                                1,084,471.59    35,745.91    35,745.91     14,581.15    35,745.91       962,652.71      1,084,471.59                          783590.14         300,881.45    $   998,398.62    $ 783,590.14    $ 214,808.48
B8101            Perfumes and Hair Products                     6,909.89          -            -             -            -           6,909.89          6,909.89                              693.38          6,216.51    $     6,909.89    $     693.38    $   6,216.51
B8102            Candle Light Bakery                                0.01         0.01          -             -            -                -                0.01                          14,565.63         (14,565.62)   $          -      $ 14,565.63     $ (14,565.63)
B8106            Wedding Chapel                                 2,919.99       973.33       973.33        973.33          -                -            2,919.99                           3,026.11            (106.12)   $          -      $   3,026.11    $ (3,026.11)
B8107            Professional Documents, Inc.                  22,465.80     2,614.02     2,614.02        427.66     2,614.02        14,196.08         22,465.80                          18,950.52           3,515.28    $    16,810.10    $ 18,950.52     $ (2,140.42)
B8108            Una Mexicana Que Fruta Vendia                 51,473.17     3,846.19     3,846.19      2,254.65     3,846.19        37,679.95         51,473.17                          17,414.95          34,058.22    $    41,526.14    $ 17,414.95     $ 24,111.19
B8109            Hermandad Mexicana Legal Centers                 848.57       848.57          -             -            -                -              848.57                                                848.57    $          -      $        -      $        -
B8110            Rosy's Beauty Salon                           15,065.37         0.01     4,356.51      4,356.51     4,356.51         1,995.83         15,065.37                          14,339.72             725.65    $     6,352.34    $ 14,339.72     $ (7,987.38)
B8113            Farmers Insurance Agency                       7,077.36     3,344.12     3,344.12        389.12          -                -            7,077.36                                -             7,077.36    $          -      $        -      $        -
B8201            MEAN CHIX, Inc - Hot Chix                      5,709.70     5,709.70          -             -            -                -            5,709.70                           6,872.14          (1,162.44)   $          -      $   6,872.14    $ (6,872.14)
B8202-1          Dulce Vida                                       325.19       325.19          -             -            -                -              325.19                                                325.19    $          -      $        -      $        -
B8202-2          FARO OPTOMETRY                                10,869.97     3,647.15     3,666.88      3,555.94          -                -           10,869.97                           6,300.32           4,569.65    $          -      $   6,300.32    $ (6,300.32)
B8203            First Aid Urgent Care, Inc                       173.40       173.40          -             -            -                -              173.40                                                173.40    $          -      $        -      $        -
B8204            JPL EVENT ENTERPRISE LLC                     123,050.52     8,269.74     8,269.74     14,091.19     8,269.74        84,150.11        123,050.52                          24,650.06          98,400.46    $    92,419.85    $ 24,650.06     $ 67,769.79


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PLAMEX INVESTMENT LLC                                Case 8:21-bk-10958-ES                                   Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                                                             Desc
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Current and Inactive tenants

                                                                                                                                                                                                      Reserve
                                                                                                                                                                                                   Balance as of                        over 90 days,
    Suite ID                   Occupant Name                      Amount           Current        1 Month     2 Months      3 Months           4 Months     Current Tenants    Inactive Tenants     12/31/2020      NET Receivable           AR         BD reserve           Net
B8206            Family Acupuncture & Herb Clinic                 5,268.18   5,268.17               0.01               -          -                 -              5,268.18                                                 5,268.18    $        -      $        -      $        -
B8207            Sang Gyu Shin                                    1,684.39   1,523.20             161.19               -          -                 -              1,684.39                                                 1,684.39    $        -      $        -      $        -
C1258            COMEX Korean BBQ, LLC                          833,722.63  29,328.51          29,328.51         23,622.28  28,747.75        722,695.58          833,722.63                            634,719.33         199,003.30    $ 751,443.33    $ 634,719.33    $ 116,724.00
105SIGN          TMC                                            408,579.50        -                  -                 -          -          408,579.50                              408,579.50        408,579.50                -      $ 408,579.50    $ 408,579.50    $        -
105SIGN          iKahan Media, Inc. (old)                         9,965.64        -                  -                 -          -            9,965.64                                9,965.64          9,965.64                -      $ 9,965.64      $   9,965.64    $        -
A2E              L.A.Care Health Plan                               830.24        -                  -                 -          -              830.24                                  830.24            830.24                -      $     830.24    $     830.24    $        -
B11310           Tamales La Gurea Estilo Sinaloa                 24,108.22        -                  -                 -          -           24,108.22                               24,108.22         24,108.22                -      $ 24,108.22     $ 24,108.22     $        -
B11311           Bionicos Frutas y Jugos Naturales                   38.06        -                  -                 -          -               38.06                                   38.06             38.06                -      $      38.06    $      38.06    $        -
B11313           Farmacia Natural                                (1,332.20)       -                  -           (1,843.01)       -              510.81                               (1,332.20)           510.81          (1,843.01)   $     510.81    $     510.81    $        -
B11316           Alma De Mexico                                  41,517.47        -                  -           (2,130.94)       -           43,648.41                               41,517.47         43,648.41          (2,130.94)   $ 43,648.41     $ 43,648.41     $        -
B11324           PLAZA CAR WASH, LLC                             11,797.11        -                  -              480.98        -           11,316.13                               11,797.11         11,316.13             480.98    $ 11,316.13     $ 11,316.13     $        -
B11324           Ezequiel Juarez Lopez                            3,852.84        -                  -                 -          -            3,852.84                                3,852.84          3,852.84                -      $ 3,852.84      $   3,852.84    $        -
B11325           Airbrush Nation                                 41,667.29        -                  -                 -          -           41,667.29                               41,667.29         41,667.29                -      $ 41,667.29     $ 41,667.29     $        -
B13001           Barbacoa Actopan                                 4,599.23        -                  -                 -          -            4,599.23                                4,599.23          4,599.23                -      $ 4,599.23      $   4,599.23    $        -
B13001           Lamajoon Mediterranean Shish Kabob               9,986.02        -                  -                 -          -            9,986.02                                9,986.02          9,986.02                -      $ 9,986.02      $   9,986.02    $        -
B13003           YOSHIHARU RAMEN EXPRESS                         (1,811.82)       -                  -           (1,811.82)       -                 -                                 (1,811.82)                           (1,811.82)   $        -      $        -      $        -
B13003           RYU JOO YEON                                    (1,461.00)       -              (500.00)          (961.00)       -                 -                                 (1,461.00)                           (1,461.00)   $        -      $        -      $        -
B13003           Ricos Tacos El Tio II, Inc.                     66,317.14        -                  -                 -          -           66,317.14                               66,317.14         66,317.14                -      $ 66,317.14     $ 66,317.14     $        -
B21102           Blue Vibes                                         790.00        -                  -                 -          -              790.00                                  790.00            790.00                -      $     790.00    $     790.00    $        -
B21108           YOUNGEVITY                                       3,632.20        -                  -               71.53        -            3,560.67                                3,632.20          3,560.67              71.53    $ 3,560.67      $   3,560.67    $        -
B21202           Mobile Exclusive T-Mobile                       57,537.35        -                  -                 -          -           57,537.35                               57,537.35         57,537.35                -      $ 57,537.35     $ 57,537.35     $        -
B21202           Cell Phone T-mobile (old)                       16,019.19        -                  -                 -          -           16,019.19                               16,019.19         16,019.19                -      $ 16,019.19     $ 16,019.19     $        -
B21204           Flor Paredes                                       219.46        -                  -                 -          -              219.46                                  219.46            219.46                -      $     219.46    $     219.46    $        -
B21205           MILICO, LLC                                     18,324.98        -                  -                 -          -           18,324.98                               18,324.98         18,324.98                -      $ 18,324.98     $ 18,324.98     $        -
B21207/8         Casa de Michocan                                14,115.91        -                  -                 -     2,339.72         11,776.19                               14,115.91         18,257.57          (4,141.66)   $ 14,115.91     $ 18,257.57     $ (4,141.66)
B21210           Lavanderia Burbuja                              (7,016.01)       -                  -           (7,016.01)       -                 -                                 (7,016.01)                           (7,016.01)   $        -      $        -      $        -
B31001           Abigail Perez                                    1,772.92        -                  -                 -          -            1,772.92                                1,772.92          1,772.92                -      $ 1,772.92      $   1,772.92    $        -
B31008           Moxi Shoes                                      13,540.26        -                  -                 -          -           13,540.26                               13,540.26         13,540.26                -      $ 13,540.26     $ 13,540.26     $        -
B44B             FOOT LOCKER RETAIL, INC                           (241.94)       -                  -                 -          -             (241.94)                                (241.94)                             (241.94)   $    (241.94)   $        -      $    (241.94)
B44B             Viva Movil, LLC                                  4,724.21        -                  -                 -          -            4,724.21                                4,724.21          4,724.21                -      $ 4,724.21      $   4,724.21    $        -
B4E106           Metro Fusion, Inc. (Men's Land)                  4,845.62        -                  -                 -          -            4,845.62                                4,845.62          4,845.62                -      $ 4,845.62      $   4,845.62    $        -
B4E106           PAVI Inc. (old)                                136,377.47        -                  -                 -          -          136,377.47                              136,377.47        136,377.47                -      $ 136,377.47    $ 136,377.47    $        -
B4F107           Anna's Linen #004                               74,165.71        -                  -                 -          -           74,165.71                               74,165.71         74,165.71                -      $ 74,165.71     $ 74,165.71     $        -
B7101            BEECRAZEE INC - Mauya                            1,414.13        -                  -                 -          -            1,414.13                                1,414.13          1,414.13                -      $ 1,414.13      $   1,414.13    $        -
B7101            BRANDEN AND CO. JEWELERS                        94,046.86        -                  -            1,051.22        -           92,995.64                               94,046.86         92,995.64           1,051.22    $ 92,995.64     $ 92,995.64     $        -
B7101            Raul Solis                                       5,500.00        -                  -                 -          -            5,500.00                                5,500.00          5,500.00                -      $ 5,500.00      $   5,500.00    $        -
B7102            AIO Wireless                                     2,347.62        -                  -                 -          -            2,347.62                                2,347.62          2,347.62                -      $ 2,347.62      $   2,347.62    $        -
B7103            IVETTE BY MITZY                                 (4,694.90)       -                  -           (4,694.90)       -                 -                                 (4,694.90)                           (4,694.90)   $        -      $        -      $        -
B8101            Miguel Chavarria & Viney Sharm                 123,443.44        -                  -                 -          -          123,443.44                              123,443.44        123,443.44                -      $ 123,443.44    $ 123,443.44    $        -
B8105            Victoria Casas                                     329.66        -                  -                 -          -              329.66                                  329.66            329.66                -      $     329.66    $     329.66    $        -
B8112            Militar's Cut Unisex                                60.99        -                  -                 -          -               60.99                                   60.99             60.99                -      $      60.99    $      60.99    $        -
B8201            SNOW FACTORY                                    75,407.62        -                  -                 -          -           75,407.62                               75,407.62         75,407.62                -      $ 75,407.62     $ 75,407.62     $        -
B8203            Lynwood Medical                                   (579.18)       -                  -             (579.18)       -                 -                                   (579.18)                             (579.18)   $        -      $        -      $        -
C1258            HomeTown Buffet                                 58,537.33        -                  -                 -          -           58,537.33                               58,537.33        58,537.33                 -      $ 58,537.33     $ 58,537.33     $        -
                                             BLDG 200PMO      5,572,041.50 223,412.99         262,060.23         62,046.86 257,790.01      4,766,731.41         4,258,766.86       1,313,274.64     3,803,210.71        1,768,830.79    5,024,521.42    3,803,210.71    1,221,310.71

                                                  Grand Total $   9,427,781    $    444,094   $    488,338   $    219,713   $   446,045    $    7,829,591   $     6,842,563    $      2,585,217    $    6,179,714   $     3,248,067     $ 8,275,636 $       6,179,714   $   2,095,922
                                                                                                                                                                        -                                                               $ 1,152,145
                 Total Aging                                 $    9,427,781                                                                                                                                                             $ 9,427,781 $       6,179,714
25620-0000       Prepaid Rent per TB, 06/30/21                    93,054.74                                                                                                                                                             $    93,055
                 Tamales-Overstated by $0.30                           0.30                                                                                                                                                             $         0
                 Chuck E Cheese Prepaid Rent                      (2,672.72)                                                                                                                                                            $    (2,673)
                 Top Fashion PPD rent                             (1,000.00)                                                                                                                                                            $    (1,000)

                 Total Adjusted AR, 06/30/21                  $9,517,163.16
11000-0000       AR Per Trial Balance, 06/30/21              $9,517,163.16                                                                                                                         $6,179,714.21                        $ 9,517,163     $   6,179,714   $   3,337,449
                 Difference                                       $0.00


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Current and Inactive tenants

                                                                                                                                                               Reserve
                                                                                                                                                            Balance as of                     over 90 days,
    Suite ID                   Occupant Name        Amount   Current   1 Month    2 Months   3 Months      4 Months   Current Tenants    Inactive Tenants    12/31/2020      NET Receivable        AR         BD reserve   Net
                                                                                                                      11110-0000        Allowance for BD     6,179,714.21
                                                                                                                                        Difference                   $0.00




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PLAMEX INVESTMENT, LLC
Post BK11 Expenses
AP Aging Report as of 06/30/21

   Invoice       Invoice         Due                                                Invoice                                                            Over

  Number          Date         Date        Entity              Reference            Amount         30 Days      31-60 Days 61-90 Days   91-120 Days   120 Days    Total
Vendor:       900GPM Greenland Property Management, LLC
06-2021IN        6/30/2021    6/30/2021 200PMI       PLX-IN Maint Crew 06/21            441.07        441.07                                                        441.07
06-2021LTC       6/30/2021    6/30/2021 200PML       PLX-LTC Maint Crew 06/21         2,117.12      2,117.12                                                      2,117.12
06-2021OUT       6/30/2021    6/30/2021 200PMO PLX-OUT Maint Crew 06/21                 441.07        441.07                                                        441.07
06-2021OUT       6/30/2021    6/30/2021 200PMO PLX-OUT Maint Crew 06/21               2,117.12      2,117.12                                                      2,117.12
IN202106         6/30/2021    6/30/2021 200PMI       PLX-IN Mgmt Fee 06/21            9,511.69      9,511.69                                                      9,511.69
LTC202106        6/30/2021    6/30/2021 200PML       PLX-LTC Mgmt Fee 06/21           7,905.59      7,905.59                                                      7,905.59
OUT202106        6/30/2021    6/30/2021 200PMO PLX-OUT Mgmt Fee 06/21                17,272.63     17,272.63                                                     17,272.63
Vendor:       ABZPESTC ABZ Pest Control
475534            6/1/2021     6/1/2021 200PMO Bird Control 06/21                       91.40         91.40                                                         91.40
475535           6/17/2021    6/17/2021 200PML       Bird Control 06/21                134.60        134.60                                                        134.60
Vendor:       ATT AT&T
1154-051921      5/19/2021    5/19/2021 200PMO 609-1154 Elev 5/19-6/18/21               109.26        109.26                                                        109.26
1154-051921      5/19/2021    5/19/2021 200PMO 609-1154 Elev Utility Deposit           (109.06)      (109.06)                                                      (109.06)
1154-051921      5/19/2021    5/19/2021 200PMO 609-1154 Elev Overpaid                  (181.29)      (181.29)                                                      (181.29)
1154-051921      5/19/2021    5/19/2021 200PMO 609-1154 Elev 4/19-5/18/21               109.38        109.38                                                        109.38
OUT-052021       5/20/2021    5/20/2021 200PMO 764-5420 Signage 5/20-6/19/21             72.76         72.76                                                         72.76
OUT-052021       5/20/2021    5/20/2021 200PMO 764-5420 Utility Deposit                 (72.52)       (72.52)                                                       (72.52)
OUT-052021       5/20/2021    5/20/2021 200PMO 764-5420 Overpaid                       (180.16)      (180.16)                                                      (180.16)
OUT-052021       5/20/2021    5/20/2021 200PMO 764-5420 Signage 4/20-5/19/21             72.88         72.88                                                         72.88
Vendor:       BETTERBE Better & Best Building Service Inc
12301.           3/15/2021    3/15/2021 200PMI       Janitorial 03/21 - Rate Incr       391.00                                               391.00                 391.00
12302.           3/15/2021    3/15/2021 200PML       Janitorial 03/21 - Rate Incr       857.00                                               857.00                 857.00
12303.           3/15/2021    3/15/2021 200PMO Janitorial 03/21 - Rate Incr           2,093.36                                             2,093.36               2,093.36
12303.           3/15/2021    3/15/2021 200PMI       Janitorial 03/21 - Rate Incr     1,223.64                                             1,223.64               1,223.64
12310            4/15/2021    4/15/2021 200PMI       Janitorial 04/21-Rate Incr         391.00                                 391.00                               391.00
12311            4/15/2021    4/15/2021 200PML       Janitorial 04/21-Rate Incr         857.00                                 857.00                               857.00
12312            4/15/2021    4/15/2021 200PMO Janitorial 04/21-Rate Incr             2,093.36                               2,093.36                             2,093.36
12312            4/15/2021    4/15/2021 200PMI       Janitorial 04/21-Rate Incr       1,223.64                               1,223.64                             1,223.64
12319            5/15/2021    5/15/2021 200PMI       Janitorial 05/21-Rate Incr         391.00                     391.00                                           391.00
12320            5/15/2021    5/15/2021 200PML       Janitorial 05/21-Rate Incr         857.00                     857.00                                           857.00
12321            5/15/2021    5/15/2021 200PMO Janitorial 05/21-Rate incr             2,093.36                   2,093.36                                         2,093.36

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PLAMEX INVESTMENT, LLC
Post BK11 Expenses
AP Aging Report as of 06/30/21

   Invoice       Invoice         Due                                                  Invoice                                                            Over

   Number         Date         Date       Entity                 Reference            Amount         30 Days      31-60 Days 61-90 Days   91-120 Days   120 Days    Total
12321           5/15/2021     5/15/2021 200PMI       Janitorial 05/21-Rate incr         1,223.64                   1,223.64                                         1,223.64
12328           6/15/2021     6/15/2021 200PMI       2nd Flr Arcade Buffing 06/21         140.00        140.00                                                        140.00
12329           6/15/2021     6/15/2021 200PMI       Janitorial 06/21                   5,083.00      5,083.00                                                      5,083.00
12329           6/15/2021     6/15/2021 200PMI       Janitorial 06/21-Rate Incr           391.00        391.00                                                        391.00
12330           6/15/2021     6/15/2021 200PML       Janitorial 06/21                   9,223.00      9,223.00                                                      9,223.00
12330           6/15/2021     6/15/2021 200PML       Janitorial 06/21 - Rate Incr         857.00        857.00                                                        857.00
12330           6/15/2021     6/15/2021 200PML       PressureWash 06/21                   600.00        600.00                                                        600.00
12330           6/15/2021     6/15/2021 200PML       Sweeping 06/21                     1,312.00      1,312.00                                                      1,312.00
12331           6/15/2021     6/15/2021 200PMO       Janitorial 06/21                  24,321.96     24,321.96                                                     24,321.96
12331           6/15/2021     6/15/2021 200PMI       Janitorial 06/21                  14,217.04     14,217.04                                                     14,217.04
12331           6/15/2021     6/15/2021 200PMI       Sweeping 06/21                       806.78        806.78                                                        806.78
12331           6/15/2021     6/15/2021 200PMO       Sweeping 06/21                     1,380.22      1,380.22                                                      1,380.22
12331           6/15/2021     6/15/2021 200PMI       PressureWash 06/21                   885.36        885.36                                                        885.36
12331           6/15/2021     6/15/2021 200PMO       PressureWash 06/21                 1,514.64      1,514.64                                                      1,514.64
12331           6/15/2021     6/15/2021 200PMO       Janitorial 06/21-Rate Incr         2,093.36      2,093.36                                                      2,093.36
12331           6/15/2021     6/15/2021 200PMI       Janitorial 06/21-Rate Incr         1,223.64      1,223.64                                                      1,223.64
Vendor:      BROADSIG Broadsign International Inc.
INV-00030423    6/30/2021     6/30/2021 200PMO       subscription 6/2021                 431.25        431.25                      -              -         -        431.25
Vendor:      CITYOFLY City of Lynwood
3100-060121      6/1/2021     6/15/2021 200PMI       834261000_3100 4/1-5/31/21           466.96        466.96                                                        466.96
3100-060121      6/1/2021     6/15/2021 200PMI       834261000_3100 Utility Deposit      (466.96)      (466.96)                                                      (466.96)
8801-060121      6/1/2021     6/15/2021 200PMI       832228801_3100 4/1-5/31/2021         296.74        296.74                                                        296.74
8801-060121      6/1/2021     6/15/2021 200PMI       832228801_3100 Utility Deposit      (296.74)      (296.74)                                                      (296.74)
LTC-06.01.21     6/1/2021     6/15/2021 200PML       834295000_N6 4/1-5/31/21             172.94        172.94                                                        172.94
LTC-06.01.21     6/1/2021     6/15/2021 200PML       834298000_11225 4/1-5/31/21           95.58         95.58                                                         95.58
LTC-06.01.21     6/1/2021     6/15/2021 200PML       834297000_11221 4/1-5/31/21          172.94        172.94                                                        172.94
LTC-06.01.21     6/1/2021     6/15/2021 200PML       834320000_11331-37 4/1-5/31/21        95.58         95.58                                                         95.58
LTC-06.01.21     6/1/2021     6/15/2021 200PML       834330000_11369-91 4/1-5/31/21        95.58         95.58                                                         95.58
LTC-06.01.21     6/1/2021     6/15/2021 200PML       834296000_11215 4/1-5/31/21           95.58         95.58                                                         95.58
LTC-06.01.21     6/1/2021     6/15/2021 200PML       834300000_11247 4/1-5/31/21           95.58         95.58                                                         95.58
LTC-06.01.21     6/1/2021     6/15/2021 200PML       LTC Wtr Fire Utility Deposits       (823.78)      (823.78)                                                      (823.78)
OUT-060121       6/1/2021     6/15/2021 200PMO       834294000 3180 4/1-5/31/21           296.74        296.74                                                        296.74

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   Invoice        Invoice        Due                                               Invoice                                                            Over

   Number          Date         Date       Entity              Reference           Amount         30 Days      31-60 Days 61-90 Days   91-120 Days   120 Days    Total
OUT-060121         6/1/2021      6/15/2021 200PMO 834292000 3160 4/1-5/31/21           172.94        172.94                                                        172.94
OUT-060121         6/1/2021      6/15/2021 200PMO 834291000 3150 4/1-5/31/21           172.94        172.94                                                        172.94
OUT-060121         6/1/2021      6/15/2021 200PMO 834294000 3180 Utility Deposit      (296.74)      (296.74)                                                      (296.74)
OUT-060121         6/1/2021      6/15/2021 200PMO 834292000 3160 Utility Deposit      (172.94)      (172.94)                                                      (172.94)
OUT-060121         6/1/2021      6/15/2021 200PMO 834291000 3150 Utility Deposit      (172.94)      (172.94)                                                      (172.94)
Vendor:        CONTEMPO Contemporary Information Corp.
550130            6/29/2021      6/29/2021 200PMO PM Credit Checks                      40.00         40.00                                                         40.00
550130            6/29/2021      6/29/2021 200PMI     Dong Lee Credit checks            40.00         40.00                                                         40.00
Vendor:        EPAXSYST Epax Systems, Inc.
27781              6/1/2021       6/1/2021 200PMO 30YD Trash Comp 06/21               414.00        414.00                                                        414.00
27781              6/1/2021       6/1/2021 200PMI     30YD Trash Comp 06/21           241.99        241.99                                                        241.99
Vendor:        FIRSTINS First Insurance Funding Corp.
06.17.21          6/17/2021      6/17/2021 200PMI     PM 20-21 EQ Insurance          2,768.10      2,768.10                                                      2,768.10
06.17.21          6/17/2021      6/17/2021 200PML     PM 20-21 EQ Insurance          5,219.34      5,219.34                                                      5,219.34
06.17.21          6/17/2021      6/17/2021 200PMO PM 20-21 EQ Insurance              5,289.82      5,289.82                                                      5,289.82
Vendor:        GALINDOJ Jesus H. Galindo
0106130            6/8/2021       6/8/2021 200PMO Rem Grease frm Main Trap            450.00        450.00                                                        450.00
0106131           6/16/2021      6/16/2021 200PMO Fix water leak B8107                420.00        420.00                                                        420.00
0106133           6/29/2021      6/29/2021 200PMO Clean Main Lines - RR               150.00        150.00                                                        150.00
Vendor:        GASCOMPA The Gas Company
05.18.21          5/18/2021      5/18/2021 200PMI     MainBldg 4/15-5/14/21            464.94                     464.94                                           464.94
05.18.21          5/18/2021      5/18/2021 200PMI     Utility Deposit applied         (600.00)                   (600.00)                                         (600.00)
06.17.21          6/17/2021       7/8/2021 200PMI     MainBldg 5/14-6/15/21            537.62       537.62                                                         537.62
Vendor:        GTOSECUR GTO Security
PILTC053121.      5/31/2021      5/31/2021 200PML     Security 5/16-5/31/21          7,326.00                    7,326.00                                        7,326.00
PILTC053121.      5/31/2021      5/31/2021 200PML     Security 5/16-5/31/21 PAID    (7,104.00)                  (7,104.00)                                      (7,104.00)
PILTC061521       6/15/2021      6/15/2021 200PMO Security 6/1-6/15/21               6,660.00      6,660.00                                                      6,660.00
PIPME061521       6/15/2021      6/15/2021 200PMO Security 6/1-6/15/21              18,375.42     18,375.42                                                     18,375.42
PIPME061521       6/15/2021      6/15/2021 200PMI     Security 6/1-6/15/21          10,741.08     10,741.08                                                     10,741.08
PILTC063021       6/30/2021      6/30/2021 200PML     Security 6/16-6/30/21          6,660.00      6,660.00                                                      6,660.00
PIPME063021       6/30/2021      6/30/2021 200PMO Security 6/16-6/30/21             18,278.86     18,278.86                                                     18,278.86
PIPME063021       6/30/2021      6/30/2021 200PMI     Security 6/16-6/30/21         10,684.64     10,684.64                                                     10,684.64

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   Invoice       Invoice         Due                                                   Invoice                                                            Over

   Number         Date          Date         Entity               Reference            Amount         30 Days      31-60 Days 61-90 Days   91-120 Days   120 Days   Total
Vendor:       K9FINANC K-9 Financial, LLC
18151             6/1/2021     6/1/2021 200PMO        CV-04 Vertical Compactor 06/21      214.99        214.99                                                        214.99
Vendor:       KONE Kone Inc.
959876159         6/1/2021     6/1/2021 200PMO        OUT_Pass & Esc 06/21               2,389.69      2,389.69                                                     2,389.69
959876160         6/1/2021     6/1/2021 200PML        N6_Pass Elev 06/21                   464.81        464.81                                                       464.81
959876161         6/1/2021     6/1/2021 200PMI        IN_Pass & Esc 06/21                  464.81        464.81                                                       464.81
959876161.        6/1/2021     6/1/2021 200PMI        IN_Pass & Esc 06/21                3,097.24      3,097.24                                                     3,097.24
1158165279       6/17/2021    6/17/2021 200PMO        EmergCall 6/8/21 #3 UP Esc         2,706.99      2,706.99                                                     2,706.99
Vendor:       MUZAK Muzak
56232617          7/1/2021     7/1/2021 200PMI        Mood Media 07/21                    105.90        105.90                                                        105.90
Vendor:       POINTEXT Point Exterminators Inc
30731          6/30/2021     6/30/2021 200PMI      Pest Control 6/30/21                   660.00        660.00                                                        660.00
Vendor:      REGENFSS Regency Fire & Security Services
13147          6/14/2021     6/14/2021 200PML      Issues w/ Sprinkler devices            395.00        395.00                                                        395.00
Vendor:      RODRIGJO Jose Rodriguez
06.30.21       6/30/2021     6/30/2021 200PMO Landscaping 06/21                          1,000.00      1,000.00                                                     1,000.00
06.30.21       6/30/2021     6/30/2021 200PML      Landscaping 06/21                     1,000.00      1,000.00                                                     1,000.00
Vendor:      SOCALEDI So. Cal. Edison Co.
6984-061621    6/16/2021     6/16/2021 200PML      700432206984 N6 4/12-5/10/21            422.66        422.66                                                        422.66
6984-061621    6/16/2021     6/16/2021 200PML      700432206984 N6 4/12-5/10/21            (23.32)       (23.32)                                                       (23.32)
6984-061621    6/16/2021     6/16/2021 200PML      700432206984 N6 4/12-5/10/21            427.66        427.66                                                        427.66
6984-061621    6/16/2021     6/16/2021 200PML      700432206984 N6 4/12-5/10/21         (3,462.70)    (3,462.70)                                                    (3,462.70)
87954-062121   6/21/2021     6/21/2021 200PMO 700128787954 1210 5/20-6/20/21               124.37        124.37                                                        124.37
98212-062121   6/21/2021     6/21/2021 200PMO 700611698212 #201 5/20-6/20/21             2,100.81      2,100.81                                                      2,100.81
98212-062121   6/21/2021     6/21/2021 200PMO 700611698212 #200 5/20-6/20/21               924.76        924.76                                                        924.76
98212-062121   6/21/2021     6/21/2021 200PMO 700611698212 #203 5/20-6/20/21               353.32        353.32                                                        353.32
LTC-062121     6/21/2021     6/21/2021 200PML      700616416048 11247 5/20-6/20/2          619.92        619.92                                                        619.92
LTC-062121     6/21/2021     6/21/2021 200PML      700551674006 11369 5/20-6/20/2          122.16        122.16                                                        122.16
LTC-062121     6/21/2021     6/21/2021 200PML      700243254119 11225 5/20-6/20/2          249.94        249.94                                                        249.94
LTC-062121     6/21/2021     6/21/2021 200PML      700523189045 11329 5/20-6/20/2           92.26         92.26                                                         92.26
LTC-062121     6/21/2021     6/21/2021 200PML      700553471839 11217 5/20-6/20/2           86.63         86.63                                                         86.63
LTC-062121     6/21/2021     6/21/2021 200PML      700093978593 11221 5/20-6/20/2          447.20        447.20                                                        447.20

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PLAMEX INVESTMENT, LLC
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   Invoice        Invoice        Due                                                  Invoice                                                            Over

  Number           Date         Date       Entity                Reference            Amount         30 Days      31-60 Days 61-90 Days   91-120 Days   120 Days   Total
LTC-062121        6/21/2021   6/21/2021 200PML       700523238959 Park 5/20-6/20/2      1,845.66      1,845.66                                                     1,845.66
OUT-062121        6/21/2021   6/21/2021 200PMO       700359290771 3150 5/20-6/20/21     1,281.33      1,281.33                                                     1,281.33
OUT-062121        6/21/2021   6/21/2021 200PMO       700378722703 3160 5/20-6/20/21       167.05        167.05                                                       167.05
OUT-062121        6/21/2021   6/21/2021 200PMO       700440651846 3180 5/20-6/20/21       438.57        438.57                                                       438.57
OUT-062121        6/21/2021   6/21/2021 200PMO       700262683219 Prod 5/20-6/20/21     6,590.53      6,590.53                                                     6,590.53
12472-062221      6/22/2021   6/22/2021 200PMO       P2_3170 5/21-6/21/21               2,354.04      2,354.04                                                     2,354.04
12472-062221      6/22/2021   6/22/2021 200PMO       P1_Imp Sign 5/21-6/21/21           3,278.29      3,278.29                                                     3,278.29
12472-062221      6/22/2021   6/22/2021 200PMI       P1_Imp Sign 5/21-6/21/21           1,916.28      1,916.28                                                     1,916.28
Vendor:        SUNPACCO SUN PAC CONTAINERS
3627419            6/1/2021    6/1/2021 200PMO       22' Storage Container 06/21           77.00         77.00                                                        77.00
3627420            6/1/2021    6/1/2021 200PMO       26' Storage Container 06/21           97.00         97.00                                                        97.00
Vendor:        TRICHEMT Tri-Chem Technology, Corp.
67945              6/4/2021    6/4/2021 200PMI       Wtr Treatment Svc 06/21             200.00        200.00                                                       200.00
Vendor:        VERISONW Verizon Wireless
9880378180        5/22/2021   5/22/2021 200PMO       PM Billboard 4/23-5/22/21             60.08                      60.08                                           60.08
9880378180        5/22/2021   5/22/2021 200PMO       742304001-0001 Utility Deposit       (60.08)                    (60.08)                                         (60.08)
9882528060        6/22/2021   6/22/2021 200PMO       PM Billboard rfd 6/14-6/22/21        (17.42)       (17.42)                                                      (17.42)
Vendor:        WASTERES Waste Resources, Inc.
0001518518        5/15/2021   5/15/2021 200PMO       020938 3100 5/1-5/15/21            3,999.26      3,999.26                                                     3,999.26
0001518518        5/15/2021   5/15/2021 200PMI       020938 3100 5/1-5/15/21            2,337.70      2,337.70                                                     2,337.70
0001520690        5/31/2021   5/31/2021 200PMO       020938 3100 5/17-5/29/21           3,311.06      3,311.06                                                     3,311.06
0001520690        5/31/2021   5/31/2021 200PMI       020938 3100 5/17-5/29/21           1,935.43      1,935.43                                                     1,935.43
00015211337        6/1/2021    6/1/2021 200PML       024758 11337 06/21                   478.40        478.40                                                       478.40
00015211337        6/1/2021    6/1/2021 200PML       024758 11337 06/21                     0.62          0.62                                                         0.62
0001521138         6/1/2021    6/1/2021 200PML       024759 11391 06/21                   574.20        574.20                                                       574.20
0001521138         6/1/2021    6/1/2021 200PML       024759 11391 06/21                     0.62          0.62                                                         0.62
0001521139         6/1/2021    6/1/2021 200PML       024760 11215 06/21                   538.28        538.28                                                       538.28
0001521139         6/1/2021    6/1/2021 200PML       024760 11215 06/21                     0.60          0.60                                                         0.60
0001521140         6/1/2021    6/1/2021 200PML       024760 11247 06/21                   478.40        478.40                                                       478.40
0001521140         6/1/2021    6/1/2021 200PML       024760 11247 06/21                     0.58          0.58                                                         0.58
0001521141         6/1/2021    6/1/2021 200PML       024760 11301 06/21                   478.40        478.40                                                       478.40
0001521141         6/1/2021    6/1/2021 200PML       024760 11301 06/21                     0.69          0.69                                                         0.69

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   Invoice        Invoice        Due                                           Invoice                                                            Over

   Number          Date          Date      Entity             Reference        Amount         30 Days      31-60 Days 61-90 Days   91-120 Days   120 Days     Total
0001521142        6/1/2021    6/1/2021 200PML      024760 11331 06/21              478.40         478.40                                                        478.40
0001521142        6/1/2021    6/1/2021 200PML      024760 11331 06/21                0.69           0.69                                                          0.69
0001521626        6/1/2021    6/1/2021 200PMO 075644 3102 06/21                  2,420.72       2,420.72                                                      2,420.72
0001521627        6/1/2021    6/1/2021 200PMO 075645 3170 06/21                  3,201.48       3,201.48                                                      3,201.48
0001521627        6/1/2021    6/1/2021 200PMO 075645 3170 Extra 3YD Bins           191.60         191.60                                                        191.60
0001521628        6/1/2021    6/1/2021 200PMO 075646 3180 06/21                    523.92         523.92                                                        523.92
0001521628        6/1/2021    6/1/2021 200PMO 075646 3180 Extra 3YD Bins           215.56         215.56                                                        215.56
Vendor:        WOOSPOOL Woo's Pool Service
06222021         6/22/2021   6/22/2021 200PMO Fountain Cleaning 06/21              820.43        820.43                                                        820.43
06222021         6/22/2021   6/22/2021 200PMI      Fountain Cleaning 06/21         479.57        479.57                                                        479.57
Vendor:        YOUNGELC Young Electric Sign Company
INY-0293195       6/1/2021    6/1/2021 200PML      P-Lot Lights Maint 06/21        700.00         700.00                                                        700.00
INY-0293207       6/1/2021    6/1/2021 200PMO Imperial Sign Maint 06/21            157.78         157.78                                                        157.78
INY-0293207       6/1/2021    6/1/2021 200PMI      Imperial Sign Maint 06/21        92.22          92.22                                                         92.22
INY-0293277       6/1/2021    6/1/2021 200PMO P-Lot Lights Maint 06/21             567.99         567.99                                                        567.99
INY-0293277       6/1/2021    6/1/2021 200PMI      P-Lot Lights Maint 06/21        332.01         332.01                                                        332.01
INY-0293302       6/1/2021    6/1/2021 200PML      LB Sign Maint 06/21             250.00         250.00                                                        250.00
                                                   Grand Total:                262,866.64     249,084.70    4,651.94    4,565.00      4,565.00       -      262,866.64


Jesus H. Galindo Invoice from 01/2018                                             (450.00)
Adjusted Grand Total:                                                          262,416.64


TB Balance 06/30/21                                                            262,416.64
Difference                                                                            -




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Database:    MDPROPERTIES                                                         Check Register                                                    Page:             1
BANK:        PMDIP-02                                                             M+D Properties                                                    Date:     7/15/2021
                                                                                    Axos Bank                                                       Time:     11:35 AM

                                                                                06/21 Through 06/21

                                       Vendor/Alternate
 Check #     Check Date     Check Pd   Address ID         Vendor Name                                 Invoice                     Invoice          Discount      Check
Entity       Reference                  P.O. Number       Account Number     Invoice Number           Date          Due Date      Amount            Amount      Amount


207          6/1/2021      06/21       900GPM             Greenland Property Management, LLC
 200PMI     PLX-IN Maint Crew 04/21                       50820-0000        04-2021IN                 4/30/2021    4/30/2021       529.44             0.00     529.44

                                                                                                                  Check Total:     529.44             0.00     529.44

208          6/1/2021     06/21      900GPM               Greenland Property Management, LLC
 200PML     PLX-LTC Maint Crew 04/21                      50820-0000        04-2021LTC                4/30/2021    4/30/2021       352.96             0.00     352.96
 200PML     PLX-LTC Maint Crew 04/21                      50500-0000        04-2021LTC                4/30/2021    4/30/2021       882.40             0.00     882.40

                                                                                                                  Check Total:    1,235.36            0.00    1,235.36

209          6/1/2021     06/21      900GPM               Greenland Property Management, LLC
 200PMO     PLX-OUT Maint Crew 04/21                      50820-0000        04-2021OUT                4/30/2021    4/30/2021       529.44             0.00     529.44
 200PMO     PLX-OUT Maint Crew 04/21                      50500-0000        04-2021OUT                4/30/2021    4/30/2021       882.40             0.00     882.40

                                                                                                                  Check Total:    1,411.84            0.00    1,411.84

210          6/1/2021        06/21     ABZPESTC           ABZ Pest Control
 200PMO     Bird Control 05/21                            50600-0000         474856                   5/20/2021    5/20/2021         91.40            0.00      91.40

                                                                                                                  Check Total:       91.40            0.00      91.40

211          6/1/2021        06/21     ABZPESTC           ABZ Pest Control
 200PML     Bird Control 05/21                            50600-0000         474857                   5/20/2021    5/20/2021       134.60             0.00     134.60

                                                                                                                  Check Total:     134.60             0.00     134.60

212          6/1/2021        06/21   ATT                  AT&T
 200PML     884-9694 105FWY 5/17-6/16/21                  53610-0000         9694-051721              5/17/2021    5/17/2021        104.43            0.00      104.43
 200PML     884-9694 Utility Deposit                      19170-0091         9694-051721              5/17/2021    5/17/2021       -104.34            0.00     -104.34

                                                                                                                  Check Total:        0.09            0.00        0.09

213          6/1/2021        06/21    ATT                 AT&T *** VOID ***                                        Voided Check
 200PMO     608-0668 Signage 5/20-6/19/21                 50700-0000      OUT-052021                  5/20/2021    5/20/2021        107.16            0.00      107.16
 200PMO     608-0668 Utility Deposit                      19170-0091      OUT-052021                  5/20/2021    5/20/2021       -106.97            0.00     -106.97
 200PMO     608-0668 Signage 4/20-5/19/21                 50700-0000      OUT-052021                  5/20/2021    5/20/2021        107.28            0.00      107.28
 200PMO     764-5420 Signage 5/20-6/19/21                 50700-0000      OUT-052021                  5/20/2021    5/20/2021         72.76            0.00       72.76
 200PMO     764-5420 Utility Deposit                      19170-0091      OUT-052021                  5/20/2021    5/20/2021        -72.52            0.00      -72.52
 200PMO     764-5420 Overpaid                             50700-0000      OUT-052021                  5/20/2021    5/20/2021       -180.16            0.00     -180.16
 200PMO     764-5420 Signage 4/20-5/19/21                 50700-0000      OUT-052021                  5/20/2021    5/20/2021         72.88            0.00       72.88
 200PMO     change amt                                    50700-0000      OUT-052021                  5/20/2021    5/20/2021       -107.16            0.00     -107.16
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Entity       Reference                  P.O. Number       Account Number     Invoice Number            Date          Due Date     Amount            Amount       Amount


200PMO      change amt                                    19170-0091         OUT-052021                5/20/2021    5/20/2021        106.97           0.00       106.97
200PMO      change amt                                    50700-0000         OUT-052021                5/20/2021    5/20/2021       -107.28           0.00      -107.28
200PMO      change amt                                    50700-0000         OUT-052021                5/20/2021    5/20/2021        -72.76           0.00       -72.76
200PMO      change amt                                    19170-0091         OUT-052021                5/20/2021    5/20/2021         72.52           0.00        72.52
200PMO      change amt                                    50700-0000         OUT-052021                5/20/2021    5/20/2021        180.16           0.00       180.16
200PMO      change amt                                    50700-0000         OUT-052021                5/20/2021    5/20/2021        -72.88           0.00       -72.88

                                                                                                                   Check Total:        0.00           0.00         0.00

214          6/1/2021       06/21        BETTERBE         Better & Best Building Service Inc
 200PMI     Arcade 2nd Flr Buffing 05/21                  51010-0000          12318                    5/15/2021    5/15/2021       140.00            0.00      140.00

                                                                                                                   Check Total:     140.00            0.00      140.00

215          6/1/2021        06/21     BETTERBE           Better & Best Building Service Inc
 200PMI     Janitorial 05/21                              51010-0000          12319                    5/15/2021    5/15/2021      5,083.00           0.00     5,083.00

                                                                                                                   Check Total:    5,083.00           0.00     5,083.00

216          6/1/2021        06/21     BETTERBE           Better & Best Building Service Inc
 200PML     Janitorial 05/21                              51010-0000          12320                    5/15/2021    5/15/2021      9,223.00           0.00     9,223.00
 200PML     Sweeping 05/21                                50400-0000          12320                    5/15/2021    5/15/2021      1,312.00           0.00     1,312.00
 200PML     PressureWash 05/21                            50410-0000          12320                    5/15/2021    5/15/2021        600.00           0.00       600.00

                                                                                                                   Check Total:   11,135.00           0.00    11,135.00

217          6/1/2021        06/21     BETTERBE           Better & Best Building Service Inc
 200PMI     Sweeping 05/21                                50400-0000          12321                    5/15/2021    5/15/2021        806.78           0.00       806.78
 200PMO     Sweeping 05/21                                50400-0000          12321                    5/15/2021    5/15/2021      1,380.22           0.00     1,380.22
 200PMI     PressureWash 05/21                            50410-0000          12321                    5/15/2021    5/15/2021        885.36           0.00       885.36
 200PMO     PressureWash 05/21                            50410-0000          12321                    5/15/2021    5/15/2021      1,514.64           0.00     1,514.64
 200PMO     Janitorial 05/21                              51010-0000          12321                    5/15/2021    5/15/2021     24,321.96           0.00    24,321.96
 200PMI     Janitorial 05/21                              51010-0000          12321                    5/15/2021    5/15/2021     14,217.04           0.00    14,217.04

                                                                                                                   Check Total:   43,126.00           0.00    43,126.00

218          6/1/2021     06/21       CONTEMPO            Contemporary Information Corp.
 200PMO     Carmen Lopez Credit Check                     73400-0000        548880                     5/27/2021    5/27/2021        20.00            0.00       20.00
 200PMO     Esmeralda Rangel Credit check                 73400-0000        548880                     5/27/2021    5/27/2021        20.00            0.00       20.00

                                                                                                                   Check Total:      40.00            0.00       40.00
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Entity       Reference                  P.O. Number       Account Number     Invoice Number           Date          Due Date     Amount            Amount       Amount


219          6/1/2021     06/21        EPAXSYST           Epax Systems, Inc.
 200PMO     30YD Trash Comp 05/21                         52180-0000         27653                    5/1/2021     5/1/2021        414.00            0.00      414.00
 200PMI     30YD Trash Comp 05/21                         52180-0000         27653                    5/1/2021     5/1/2021        241.99            0.00      241.99

                                                                                                                  Check Total:     655.99            0.00      655.99

220          6/1/2021     06/21        FIRSTINS           First Insurance Funding Corp.
 200PMI     PM 20-21 EQ Insurance                         19310-0000         05.18.21                 5/18/2021    6/5/2021       2,768.10           0.00     2,768.10
 200PML     PM 20-21 EQ Insurance                         19310-0000         05.18.21                 5/18/2021    6/5/2021       5,219.34           0.00     5,219.34
 200PMO     PM 20-21 EQ Insurance                         19310-0000         05.18.21                 5/18/2021    6/5/2021       5,289.82           0.00     5,289.82

                                                                                                                  Check Total:   13,277.26           0.00    13,277.26

221          6/1/2021     06/21      FRANTAXB             Franchise Tax Board
 200PMC     XX-XXXXXXX 2021 FTB 3536                      78950-0060        3536PLX2021               5/24/2021    6/15/2021     11,790.00           0.00    11,790.00

                                                                                                                  Check Total:   11,790.00           0.00    11,790.00

222          6/1/2021        06/21     GTOSECUR           GTO Security
 200PML     Security 5/1-5/15/21                          50110-0000         PILTC051521              5/15/2021    5/15/2021      6,660.00           0.00     6,660.00

                                                                                                                  Check Total:    6,660.00           0.00     6,660.00

223          6/1/2021        06/21     GTOSECUR           GTO Security
 200PMO     Security 5/1-5/15/21                          50110-0000         PIPME051521              5/15/2021    5/15/2021     18,458.10           0.00    18,458.10
 200PMI     Security 5/1-5/15/21                          50110-0000         PIPME051521              5/15/2021    5/15/2021     10,789.40           0.00    10,789.40

                                                                                                                  Check Total:   29,247.50           0.00    29,247.50

224          6/1/2021     06/21        HOMEDEPO           Home Depot Credit Services
 200PML     Repl Broken Water Valve                       51630-0000        618558712                 5/21/2021    5/21/2021          7.03           0.00         7.03

                                                                                                                  Check Total:        7.03           0.00         7.03

225          6/1/2021       06/21     K9FINANC            K-9 Financial, LLC
 200PMO     CV-04 Vertical Comp 05/21                     52180-0000         18034                    5/1/2021     5/1/2021        214.99            0.00      214.99

                                                                                                                  Check Total:     214.99            0.00      214.99

226          6/1/2021      06/21       KONE               Kone Inc.
 200PML     N6_Pass Elev 05/21                            51550-0000         959850647                5/1/2021     5/1/2021        464.81            0.00      464.81
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Entity       Reference                    P.O. Number       Account Number    Invoice Number           Date          Due Date     Amount            Amount      Amount



                                                                                                                   Check Total:    464.81             0.00     464.81

227           6/1/2021     06/21         KONE               Kone Inc.
 200PMI     IN_Pass & Esc 05/21                             51550-0000        959850648                5/1/2021     5/1/2021      3,562.05            0.00    3,562.05

                                                                                                                   Check Total:   3,562.05            0.00    3,562.05

228          6/1/2021    06/21           KONE               Kone Inc.
 200PMO     OUT_Pass & Esc 05/21                            51550-0000        959850649                5/1/2021     5/1/2021      2,389.69            0.00    2,389.69

                                                                                                                   Check Total:   2,389.69            0.00    2,389.69

229          6/1/2021      06/21         RODRIGJO           Jose Rodriguez
 200PMO     Landscaping 5/2021                              50500-0000        05.31.21                 5/31/2021    5/31/2021     1,000.00            0.00    1,000.00
 200PML     Landscaping 5/2021                              50500-0000        05.31.21                 5/31/2021    5/31/2021     1,000.00            0.00    1,000.00

                                                                                                                   Check Total:   2,000.00            0.00    2,000.00

230           6/1/2021        06/21      SMARDANS           SMARDAN SUPPLY CO.
 200PMI     Install Cleanup in 99Cents                      51630-0000    S3677268.001                 5/20/2021    5/20/2021        96.66            0.00      96.66

                                                                                                                   Check Total:      96.66            0.00      96.66

231          6/1/2021       06/21       SUNPACCO            SUN PAC CONTAINERS
 200PMO     22' Storage Container 05/21                     72530-0000     3624233                     5/1/2021     5/1/2021         77.00            0.00      77.00
 200PMO     26' Storage Container 05/21                     72530-0000     3624234                     5/1/2021     5/1/2021         97.00            0.00      97.00

                                                                                                                   Check Total:    174.00             0.00     174.00

232          6/1/2021      06/21         TRICHEMT           Tri-Chem Technology, Corp.
 200PMI     Wtr Treatment Svc 05/21                         51600-0000       67819                     5/6/2021     5/6/2021       200.00             0.00     200.00

                                                                                                                   Check Total:    200.00             0.00     200.00

233          6/1/2021     06/21          WASTERES           Waste Resources, Inc.
 200PML     024760 11215 05/21                              52180-0000        0001514082               5/1/2021     5/1/2021       538.28             0.00     538.28
 200PML     024759 11391 05/21                              52180-0000        0001514081               5/1/2021     5/1/2021       478.40             0.00     478.40
 200PML     024758 11337 05/21                              52180-0000        0001514080               5/1/2021     5/1/2021       478.40             0.00     478.40
 200PML     024760 11331 05/21                              52180-0000        0001514085               5/1/2021     5/1/2021       478.40             0.00     478.40
 200PML     024760 11301 05/21                              52180-0000        0001514084               5/1/2021     5/1/2021       478.40             0.00     478.40
 200PML     024760 11247 05/21                              52180-0000        0001514083               5/1/2021     5/1/2021       478.40             0.00     478.40
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 Check #     Check Date     Check Pd    Address ID         Vendor Name                                Invoice                    Invoice          Discount      Check
Entity       Reference                   P.O. Number       Account Number    Invoice Number           Date          Due Date     Amount            Amount      Amount



                                                                                                                  Check Total:   2,930.28            0.00    2,930.28

234          6/1/2021      06/21        WASTERES           Waste Resources, Inc.
 200PMO     020938 3100 4/1-4/15/21                        52180-0000        0001478785               4/15/2021    4/15/2021     3,973.09            0.00    3,973.09
 200PMI     020938 3100 4/1-4/15/21                        52180-0000        0001478785               4/15/2021    4/15/2021     2,322.41            0.00    2,322.41

                                                                                                                  Check Total:   6,295.50            0.00    6,295.50

235          6/1/2021      06/21        WASTERES           Waste Resources, Inc.
 200PMO     020938 3100 4/17-4/30/21                       52180-0000        0001513673               4/30/2021    4/30/2021     3,248.91            0.00    3,248.91
 200PMI     020938 3100 4/17-4/30/21                       52180-0000        0001513673               4/30/2021    4/30/2021     1,899.10            0.00    1,899.10

                                                                                                                  Check Total:   5,148.01            0.00    5,148.01

236          6/1/2021       06/21       WOOSPOOL           Woo's Pool Service
 200PMO     Fountain Cleaning 05/21                        50620-0000         05242021                5/24/2021    5/24/2021      820.43             0.00     820.43
 200PMI     Fountain Cleaning 05/21                        50620-0000         05242021                5/24/2021    5/24/2021      479.57             0.00     479.57

                                                                                                                  Check Total:   1,300.00            0.00    1,300.00

237          6/1/2021       06/21       YOUNGELC           Young Electric Sign Company
 200PML     LB Sign Maint 05/21                            50700-0000         INY-0287290             5/1/2021     5/1/2021       250.00             0.00     250.00

                                                                                                                  Check Total:    250.00             0.00     250.00

238          6/1/2021       06/21       YOUNGELC           Young Electric Sign Company
 200PMO     Imperial Sign Maint 05/21                      50700-0000         INY-0287449             5/1/2021     5/1/2021       157.78             0.00     157.78
 200PMI     Imperial Sign Maint 05/21                      50700-0000         INY-0287449             5/1/2021     5/1/2021        92.22             0.00      92.22

                                                                                                                  Check Total:    250.00             0.00     250.00

239          6/1/2021       06/21       YOUNGELC           Young Electric Sign Company
 200PML     P-Lot Lights Maint 05/21                       50210-0000         INY-0287455             5/1/2021     5/1/2021       700.00             0.00     700.00

                                                                                                                  Check Total:    700.00             0.00     700.00

240          6/1/2021       06/21       YOUNGELC           Young Electric Sign Company
 200PMO     P-Lot Lights Maint 05/21                       50210-0000         INY-0287490             5/1/2021     5/1/2021       567.99             0.00     567.99
 200PMI     P-Lot Lights Maint 05/21                       50210-0000         INY-0287490             5/1/2021     5/1/2021       332.01             0.00     332.01
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Entity       Reference                 P.O. Number       Account Number   Invoice Number           Date          Due Date     Amount            Amount       Amount



                                                                                                               Check Total:     900.00            0.00      900.00

241          6/1/2021     06/21       900GPM             Greenland Property Management, LLC
 200PMI     PLX-IN Mgmt Fee 04/21                        53910-0000        IN202104                4/26/2021    4/26/2021      9,896.69           0.00     9,896.69

                                                                                                               Check Total:    9,896.69           0.00     9,896.69

242          6/1/2021    06/21        900GPM             Greenland Property Management, LLC
 200PML     PLX-LTC Mgmt Fee 04/21                       53910-0000        LTC202104               4/26/2021    4/26/2021      6,985.22           0.00     6,985.22

                                                                                                               Check Total:    6,985.22           0.00     6,985.22

243          6/1/2021    06/21     900GPM                Greenland Property Management, LLC
 200PMO     PLX-OUT Mgmt Fee 04/21                       53910-0000        OUT202104               4/26/2021    4/26/2021      8,960.63           0.00     8,960.63

                                                                                                               Check Total:    8,960.63           0.00     8,960.63

244          6/1/2021      06/21     900GPM              Greenland Property Management, LLC
 200PMI     PLX-IN Mgmt Fee 05/21                        53910-0000        202105IN                5/25/2021    5/25/2021      9,145.20           0.00     9,145.20
 200PMO     PLX-OUT Maint Crew 05/21                     50820-0000        05-2021OUT              5/31/2021    5/31/2021        294.02           0.00       294.02
 200PMI     PLX-IN Maint Crew 05/21                      50820-0000        05-2021IN               5/31/2021    5/31/2021        294.24           0.00       294.24
 200PML     PLX-LTC Maint Crew 05/21                     50820-0000        05-2021LTC              5/31/2021    5/31/2021        294.02           0.00       294.02
 200PML     PLX-LTC Maint Crew 05/21                     50500-0000        05-2021LTC              5/31/2021    5/31/2021      1,323.40           0.00     1,323.40
 200PMO     PLX-OUT Maint Crew 05/21                     50500-0000        05-2021OUT              5/31/2021    5/31/2021      1,323.40           0.00     1,323.40

                                                                                                               Check Total:   12,674.28           0.00    12,674.28

245          6/1/2021    06/21        900GPM             Greenland Property Management, LLC
 200PML     PLX-LTC Mgmt Fee 05/21                       53910-0000        202105LTC               5/24/2021    5/24/2021      8,193.42           0.00     8,193.42

                                                                                                               Check Total:    8,193.42           0.00     8,193.42

246          6/1/2021    06/21     900GPM                Greenland Property Management, LLC
 200PMO     PLX-OUT Mgmt Fee 05/21                       53910-0000        202105OUT               5/25/2021    5/25/2021     17,574.53           0.00    17,574.53

                                                                                                               Check Total:   17,574.53           0.00    17,574.53

247          6/7/2021       06/21     ABMBUILD           ABM Building Solution, LLC
 200PMI     Leasing Ofc - AC down                        72530-0000        16151071                5/25/2021    5/25/2021      1,200.00           0.00     1,200.00
                            Case 8:21-bk-10958-ES                 Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                            Desc
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 Check #     Check Date    Check Pd     Address ID         Vendor Name                                   Invoice                    Invoice          Discount      Check
Entity       Reference                   P.O. Number       Account Number    Invoice Number              Date          Due Date     Amount            Amount      Amount



                                                                                                                     Check Total:   1,200.00            0.00    1,200.00

248          6/7/2021     06/21       ATT                  AT&T
 200PMO     632-3606 105Fwy 5/26-6/25/21                   53610-0000        3606-052621                 5/26/2021    5/26/2021       113.93            0.00      113.93
 200PMO     632-3606 105Fwy UtilityDeposit                 19170-0091        3606-052621                 5/26/2021    5/26/2021      -113.84            0.00     -113.84

                                                                                                                     Check Total:       0.09            0.00        0.09

249          6/7/2021      06/21        POINTEXT           Point Exterminators Inc
 200PML     LTC Pest Control 5/14/21                       50600-0000         30320                      5/14/2021    5/14/2021      150.00             0.00     150.00

                                                                                                                     Check Total:    150.00             0.00     150.00

250          6/7/2021      06/21        POINTEXT           Point Exterminators Inc
 200PMO     3170 Pest Control 5/14/21                      50600-0000         30321                      5/14/2021    5/14/2021        50.00            0.00      50.00

                                                                                                                     Check Total:      50.00            0.00      50.00

251          6/7/2021      06/21       POINTEXT            Point Exterminators Inc
 200PMO     LA Care Pest Control 05/14/21                  50600-0000         30322                      5/14/2021    5/14/2021        50.00            0.00      50.00

                                                                                                                     Check Total:      50.00            0.00      50.00

252          6/7/2021      06/21      RESCUERO             American Residential Services, LLC
 200PMO     B11315 Drain Line clogged                      51630-0000        8102-50162                  5/29/2021    5/29/2021      975.00             0.00     975.00

                                                                                                                     Check Total:    975.00             0.00     975.00

253          6/8/2021        06/21    ATT                  AT&T
 200PMO     608-0668 Signage 5/20-6/19/21                  50700-0000        OUT-052021                  5/20/2021    5/20/2021       107.16            0.00      107.16
 200PMO     608-0668 Utility Deposit                       19170-0091        OUT-052021                  5/20/2021    5/20/2021      -106.97            0.00     -106.97
 200PMO     608-0668 Signage 4/20-5/19/21                  50700-0000        OUT-052021                  5/20/2021    5/20/2021       107.28            0.00      107.28

                                                                                                                     Check Total:    107.47             0.00     107.47

254          6/8/2021       06/21       BROADSIG/MAI       Broadsign International Inc.
 200PMO     Subscription 5/2021                            22620-0000         INV00029737                5/31/2021    5/31/2021      431.25             0.00     431.25

                                                                                                                     Check Total:    431.25             0.00     431.25

255          6/8/2021      06/21        WASTERES           Waste Resources, Inc.
                             Case 8:21-bk-10958-ES                Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                         Desc
                                                                  Main Document    Page 38 of 105
Database:    MDPROPERTIES                                                         Check Register                                                   Page:              8
BANK:        PMDIP-02                                                             M+D Properties                                                   Date:      7/15/2021
                                                                                    Axos Bank                                                      Time:      11:35 AM

                                                                                06/21 Through 06/21

                                        Vendor/Alternate
 Check #     Check Date     Check Pd    Address ID         Vendor Name                                Invoice                    Invoice          Discount       Check
Entity       Reference                   P.O. Number       Account Number    Invoice Number           Date          Due Date     Amount            Amount       Amount


200PMO      075646 3180 4/14-04/30/21                      52180-0000       0001514574.               5/1/2021     5/1/2021        -306.04           0.00      -306.04
200PMO      075646 3180 4/14-5/31/21                       52180-0000       0001514574                5/1/2021     5/1/2021         829.96           0.00       829.96
200PMO      075645 3170 4/14-4/30/21                       52180-0000       0001514573.               5/1/2021     5/1/2021      -1,300.27           0.00    -1,300.27
200PMO      075645 3170 4/14-5/31/21                       52180-0000       0001514573                5/1/2021     5/1/2021       3,720.99           0.00     3,720.99
200PMO      075644 3102 4/14-4/30/21                       52180-0000       0001514572.               5/1/2021     5/1/2021      -1,300.27           0.00    -1,300.27
200PMO      075644 3102 4/14-5/31/21                       52180-0000       0001514572                5/1/2021     5/1/2021       3,720.99           0.00     3,720.99

                                                                                                                  Check Total:    5,365.36           0.00     5,365.36

256          6/14/2021      06/21       ATT                AT&T
 200PMC     300872499 Utility Deposit                      19170-0092       05.04.21.                 5/4/2021     5/4/2021         -42.80           0.00       -42.80
 200PMC     PM Internet 6/5-7/4/21                         72340-0000       06.04.21                  6/4/2021     6/4/2021          42.80           0.00        42.80
 200PMC     PM Internet 5/5-6/4/21                         72340-0000       05.04.21                  5/4/2021     5/25/2021         42.80           0.00        42.80

                                                                                                                  Check Total:      42.80            0.00       42.80

257          6/14/2021     06/21        ATT                AT&T
 200PML     639-0184 3200 6/4-7/3/21                       51650-0000       0184-060421               6/4/2021     6/4/2021        323.29            0.00      323.29

                                                                                                                  Check Total:     323.29            0.00      323.29

258          6/14/2021       06/21      GTOSECUR           GTO Security
 200PML     Security 5/16-5/31/21                          22620-0000       PILTC053121               5/31/2021    5/31/2021      7,104.00           0.00     7,104.00

                                                                                                                  Check Total:    7,104.00           0.00     7,104.00

259          6/14/2021       06/21      GTOSECUR           GTO Security
 200PMO     Security 5/16-5/31/21                          22620-0000       PIPME053121               5/31/2021    5/31/2021     17,818.48           0.00    17,818.48
 200PMI     Security 5/16-5/31/21                          22620-0000       PIPME053121               5/31/2021    5/31/2021     10,415.52           0.00    10,415.52
 200PMO     Security 5/16-5/31/21                          50110-0000       PIPME053121               5/31/2021    5/31/2021      1,918.23           0.00     1,918.23
 200PMI     Security 5/16-5/31/21                          50110-0000       PIPME053121               5/31/2021    5/31/2021      1,121.27           0.00     1,121.27

                                                                                                                  Check Total:   31,273.50           0.00    31,273.50

260          6/14/2021      06/21       PETTYDIK           Petty Cash Custodian-Diana Kwak
 200PMO     Fixed canopy at PM                             53610-0000        Upto05.12.21             5/14/2021    5/14/2021        40.00            0.00       40.00
 200PMO     Fund PLX-011                                   11298-0000        Upto05.12.21             5/14/2021    5/14/2021       110.90            0.00      110.90

                                                                                                                  Check Total:     150.90            0.00      150.90

261          6/14/2021       06/21      ATT                AT&T
 200PML     604-1580 Utility Deposit                       19170-0091       1580-050821.              5/8/2021     5/8/2021        -107.20           0.00      -107.20
                             Case 8:21-bk-10958-ES               Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                           Desc
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Database:    MDPROPERTIES                                                         Check Register                                                    Page:              9
BANK:        PMDIP-02                                                             M+D Properties                                                    Date:      7/15/2021
                                                                                    Axos Bank                                                       Time:      11:35 AM

                                                                                06/21 Through 06/21

                                       Vendor/Alternate
 Check #     Check Date     Check Pd   Address ID         Vendor Name                                 Invoice                     Invoice          Discount      Check
Entity       Reference                  P.O. Number       Account Number    Invoice Number            Date          Due Date      Amount            Amount      Amount


200PML      604-1580 Signage 6/8-7/7/21                   50700-0000        1580-060821               6/8/2021     6/30/2021        107.16            0.00      107.16
200PML      604-1580 Signage 5/8-6/7/21                   50700-0000        1580-050821               5/8/2021     5/8/2021         108.06            0.00      108.06
200PML      604-1580 Signage 5/8-6/7/21                   73400-0000        1580-050821               5/8/2021     5/8/2021          10.00            0.00       10.00

                                                                                                                  Check Total:      118.02            0.00      118.02

262          6/21/2021       06/21     ABMBUILD           ABM Building Solution, LLC *** VOID ***                  Voided Check
 200PMI     Qtrly Maint 5/1-7/31/21                       51600-0000        16157109              5/31/2021        5/31/2021       1,498.75           0.00     1,498.75
 200PMI     CK did not print                              51600-0000        16157109              5/31/2021        5/31/2021      -1,498.75           0.00    -1,498.75

                                                                                                                  Check Total:        0.00            0.00        0.00

263          6/21/2021       06/21     ATT                AT&T *** VOID ***                                        Voided Check
 200PMI     631-0048 Elev 6/11-7/10/21                    51650-0000      0048-061121                 6/11/2021    7/6/2021         109.26            0.00      109.26
 200PMI     CK did not print                              51650-0000      0048-061121                 6/11/2021    7/6/2021        -109.26            0.00     -109.26

                                                                                                                  Check Total:        0.00            0.00        0.00

264          6/21/2021       06/21    ATT                 AT&T *** VOID ***                                        Voided Check
 200PMO     605-5107 3150 6/10-7/9/21                     51650-0000      5107-061021                 6/10/2021    7/2/2021         205.13            0.00      205.13
 200PMO     CK did not print                              51650-0000      5107-061021                 6/10/2021    7/2/2021        -205.13            0.00     -205.13

                                                                                                                  Check Total:        0.00            0.00        0.00

265          6/21/2021       06/21   ATT                  AT&T *** VOID ***                                        Voided Check
 200PMC     631-6789 PM 6/11-7/10/21                      72220-0000      6789-061121                 6/11/2021    7/6/2021         384.67            0.00      384.67
 200PMC     CK did not print                              72220-0000      6789-061121                 6/11/2021    7/6/2021        -384.67            0.00     -384.67

                                                                                                                  Check Total:        0.00            0.00        0.00

266          6/21/2021       06/21   DIRECTTV             DirecTV *** VOID ***                                     Voided Check
 200PMO     DTVFoodCourts 6/8-7/7/21                      53610-0000      06.09.21                    6/9/2021     6/28/2021        179.99            0.00      179.99
 200PMO     CK did not print                              53610-0000      06.09.21                    6/9/2021     6/28/2021       -179.99            0.00     -179.99

                                                                                                                  Check Total:        0.00            0.00        0.00

267          6/21/2021       06/21    MAXTGROU            Maxtel Group   *** VOID ***                              Voided Check
 200PMC     Troubleshoot & Rep Phone Sys                  72220-0000         37547                    6/9/2021     6/9/2021         150.00            0.00      150.00
 200PMC     CK did not print                              72220-0000         37547                    6/9/2021     6/9/2021        -150.00            0.00     -150.00

                                                                                                                  Check Total:        0.00            0.00        0.00
                             Case 8:21-bk-10958-ES                Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                             Desc
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Database:    MDPROPERTIES                                                           Check Register                                                     Page:              10
BANK:        PMDIP-02                                                               M+D Properties                                                     Date:       7/15/2021
                                                                                      Axos Bank                                                        Time:       11:35 AM

                                                                                  06/21 Through 06/21

                                       Vendor/Alternate
 Check #     Check Date     Check Pd   Address ID         Vendor Name                                   Invoice                      Invoice          Discount       Check
Entity       Reference                  P.O. Number       Account Number       Invoice Number           Date          Due Date       Amount            Amount       Amount


268          6/21/2021       06/21     OFFICENT           Officenet, Inc.   *** VOID ***                             Voided Check
 200PMC     2 Copiers Overage 4/25-5/24/21                73050-0000            IN57361                 6/11/2021    6/11/2021           49.27           0.00         49.27
 200PMC     CK did not print                              73050-0000            IN57361                 6/11/2021    6/11/2021          -49.27           0.00        -49.27

                                                                                                                    Check Total:         0.00            0.00         0.00

269          6/21/2021       06/21     POINTEXT           Point Exterminators Inc *** VOID ***                       Voided Check
 200PMI     Pest Control 5/28/21                          50600-0000         30343                      5/28/2021    5/28/2021         660.00            0.00       660.00
 200PMI     CK did not print                              50600-0000         30343                      5/28/2021    5/28/2021        -660.00            0.00      -660.00

                                                                                                                    Check Total:         0.00            0.00         0.00

270          6/21/2021       06/21     SOCALEDI           So. Cal. Edison Co. *** VOID ***                           Voided Check
 200PMO     P2_3170 4/22-5/20/21                          22620-0000         2472-060821                6/8/2021     6/8/2021         1,772.93           0.00      1,772.93
 200PMO     P1_Imp Sign 4/22-5/20/21                      22620-0000         2472-060821                6/8/2021     6/8/2021         2,816.35           0.00      2,816.35
 200PMO     P1_Imp Sign 4/22-5/20/21                      22620-0000         2472-060821                6/8/2021     6/8/2021         1,646.25           0.00      1,646.25
 200PMO     P2_3170 4/22-5/20/21                          52120-0000         2472-060821                6/8/2021     6/8/2021          -140.48           0.00       -140.48
 200PMO     P1_Imp Sign 4/22-5/20/21                      52110-0000         2472-060821                6/8/2021     6/8/2021           185.85           0.00        185.85
 200PMI     P1_Imp Sign 4/22-5/20/21                      52110-0000         2472-060821                6/8/2021     6/8/2021           108.63           0.00        108.63
 200PMO     CK did not print                              22620-0000         2472-060821                6/8/2021     6/8/2021        -1,772.93           0.00     -1,772.93
 200PMO     CK did not print                              22620-0000         2472-060821                6/8/2021     6/8/2021        -2,816.35           0.00     -2,816.35
 200PMO     CK did not print                              22620-0000         2472-060821                6/8/2021     6/8/2021        -1,646.25           0.00     -1,646.25
 200PMO     CK did not print                              52120-0000         2472-060821                6/8/2021     6/8/2021           140.48           0.00        140.48
 200PMO     CK did not print                              52110-0000         2472-060821                6/8/2021     6/8/2021          -185.85           0.00       -185.85
 200PMI     CK did not print                              52110-0000         2472-060821                6/8/2021     6/8/2021          -108.63           0.00       -108.63

                                                                                                                    Check Total:         0.00            0.00         0.00

271          6/21/2021       06/21   SOCALEDI             So. Cal. Edison Co. *** VOID ***                           Voided Check
 200PMI     700597511758 3100 4/21-5/19/21                22620-0000         3100-060821                6/8/2021     6/28/2021       26,018.94           0.00     26,018.94
 200PMI     700597511758 3100 4/21-5/19/21                73400-0000         3100-060821                6/8/2021     6/28/2021          161.58           0.00        161.58
 200PMI     700597511758 3100 4/21-5/19/21                52130-0000         3100-060821                6/8/2021     6/28/2021         -764.84           0.00       -764.84
 200PMI     CK did not print                              22620-0000         3100-060821                6/8/2021     6/28/2021      -26,018.94           0.00    -26,018.94
 200PMI     CK did not print                              73400-0000         3100-060821                6/8/2021     6/28/2021         -161.58           0.00       -161.58
 200PMI     CK did not print                              52130-0000         3100-060821                6/8/2021     6/28/2021          764.84           0.00        764.84

                                                                                                                    Check Total:         0.00            0.00         0.00

272          6/21/2021    06/21      SOCALEDI             So. Cal. Edison Co. *** VOID ***                           Voided Check
 200PMO     700611698212 #201 4/21-5/19/21                22620-0000         8212-060821                6/8/2021     6/28/2021       1,354.43            0.00     1,354.43
 200PMO     700611698212 #200 4/21-5/19/21                22620-0000         8212-060821                6/8/2021     6/28/2021         461.59            0.00       461.59
                             Case 8:21-bk-10958-ES               Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                          Desc
                                                                 Main Document    Page 41 of 105
Database:    MDPROPERTIES                                                        Check Register                                                    Page:             11
BANK:        PMDIP-02                                                            M+D Properties                                                    Date:      7/15/2021
                                                                                   Axos Bank                                                       Time:      11:35 AM

                                                                               06/21 Through 06/21

                                       Vendor/Alternate
 Check #     Check Date     Check Pd   Address ID         Vendor Name                                Invoice                     Invoice          Discount      Check
Entity       Reference                  P.O. Number       Account Number    Invoice Number           Date          Due Date      Amount            Amount      Amount


200PMO      700611698212 #203 4/21-5/19/21                22620-0000        8212-060821              6/8/2021     6/28/2021         156.09           0.00       156.09
200PMO      700611698212 #201 4/21-5/19/21                72710-0010        8212-060821              6/8/2021     6/28/2021         -55.19           0.00       -55.19
200PMO      700611698212 #200 4/21-5/19/21                72710-0010        8212-060821              6/8/2021     6/28/2021          45.04           0.00        45.04
200PMO      700611698212 #203 4/21-5/19/21                72710-0010        8212-060821              6/8/2021     6/28/2021          17.31           0.00        17.31
200PMO      CK did not print                              22620-0000        8212-060821              6/8/2021     6/28/2021      -1,354.43           0.00    -1,354.43
200PMO      CK did not print                              22620-0000        8212-060821              6/8/2021     6/28/2021        -461.59           0.00      -461.59
200PMO      CK did not print                              22620-0000        8212-060821              6/8/2021     6/28/2021        -156.09           0.00      -156.09
200PMO      CK did not print                              72710-0010        8212-060821              6/8/2021     6/28/2021          55.19           0.00        55.19
200PMO      CK did not print                              72710-0010        8212-060821              6/8/2021     6/28/2021         -45.04           0.00       -45.04
200PMO      CK did not print                              72710-0010        8212-060821              6/8/2021     6/28/2021         -17.31           0.00       -17.31

                                                                                                                 Check Total:        0.00            0.00        0.00

273          6/21/2021       06/21    SOCALEDI            So. Cal. Edison Co. *** VOID ***                        Voided Check
 200PMO     700261538417 Park 4/21-5/19/21                22620-0000         PARK-060821             6/8/2021     6/28/2021        634.65            0.00      634.65
 200PMI     700261538417 Park 4/21-5/19/21                22620-0000         PARK-060821             6/8/2021     6/28/2021        370.98            0.00      370.98
 200PMO     700261538417 Park 4/21-5/19/21                52100-0000         PARK-060821             6/8/2021     6/28/2021         98.94            0.00       98.94
 200PMI     700261538417 Park 4/21-5/19/21                52100-0000         PARK-060821             6/8/2021     6/28/2021         57.84            0.00       57.84
 200PMO     CK did not print                              22620-0000         PARK-060821             6/8/2021     6/28/2021       -634.65            0.00     -634.65
 200PMI     CK did not print                              22620-0000         PARK-060821             6/8/2021     6/28/2021       -370.98            0.00     -370.98
 200PMO     CK did not print                              52100-0000         PARK-060821             6/8/2021     6/28/2021        -98.94            0.00      -98.94
 200PMI     CK did not print                              52100-0000         PARK-060821             6/8/2021     6/28/2021        -57.84            0.00      -57.84

                                                                                                                 Check Total:        0.00            0.00        0.00

274          6/21/2021       06/21     ABMBUILD           ABM Building Solution, LLC
 200PMI     Qtrly Maint 5/1-7/31/21                       51600-0000        16157109                 5/31/2021    5/31/2021      1,498.75            0.00    1,498.75

                                                                                                                 Check Total:    1,498.75            0.00    1,498.75

275          6/21/2021     06/21       ATT                AT&T
 200PMI     631-0048 Elev 6/11-7/10/21                    51650-0000        0048-061121              6/11/2021    7/6/2021         109.26            0.00      109.26

                                                                                                                 Check Total:      109.26            0.00      109.26

276          6/21/2021     06/21      ATT                 AT&T
 200PMO     605-5107 3150 6/10-7/9/21                     51650-0000        5107-061021              6/10/2021    7/2/2021         205.13            0.00      205.13

                                                                                                                 Check Total:      205.13            0.00      205.13

277          6/21/2021      06/21      ATT                AT&T
                            Case 8:21-bk-10958-ES                 Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                            Desc
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Database:    MDPROPERTIES                                                               Check Register                                                Page:             12
BANK:        PMDIP-02                                                                   M+D Properties                                                Date:      7/15/2021
                                                                                          Axos Bank                                                   Time:      11:35 AM

                                                                                   06/21 Through 06/21

                                       Vendor/Alternate
 Check #     Check Date    Check Pd    Address ID         Vendor Name                                    Invoice                    Invoice          Discount       Check
Entity       Reference                  P.O. Number       Account Number        Invoice Number           Date          Due Date     Amount            Amount       Amount


200PMC      631-6789 PM 6/11-7/10/21                      72220-0000            6789-061121              6/11/2021    7/6/2021        384.67            0.00      384.67

                                                                                                                     Check Total:     384.67            0.00      384.67

278          6/21/2021    06/21      DIRECTTV             DirecTV
 200PMO     DTVFoodCourts 6/8-7/7/21                      53610-0000            06.09.21                 6/9/2021     6/28/2021       179.99            0.00      179.99

                                                                                                                     Check Total:     179.99            0.00      179.99

279          6/21/2021     06/21      MAXTGROU            Maxtel Group
 200PMC     Troubleshoot & Rep Phone Sys                  72220-0000            37547                    6/9/2021     6/9/2021        150.00            0.00      150.00

                                                                                                                     Check Total:     150.00            0.00      150.00

280          6/21/2021     06/21       SOCALEDI           So. Cal. Edison Co.
 200PMO     P2_3170 4/22-5/20/21                          22620-0000          2472-060821                6/8/2021     6/8/2021       1,772.93           0.00     1,772.93
 200PMO     P1_Imp Sign 4/22-5/20/21                      22620-0000          2472-060821                6/8/2021     6/8/2021       2,816.35           0.00     2,816.35
 200PMO     P1_Imp Sign 4/22-5/20/21                      22620-0000          2472-060821                6/8/2021     6/8/2021       1,646.25           0.00     1,646.25
 200PMO     P2_3170 4/22-5/20/21                          52120-0000          2472-060821                6/8/2021     6/8/2021        -140.48           0.00      -140.48
 200PMO     P1_Imp Sign 4/22-5/20/21                      52110-0000          2472-060821                6/8/2021     6/8/2021         185.85           0.00       185.85
 200PMI     P1_Imp Sign 4/22-5/20/21                      52110-0000          2472-060821                6/8/2021     6/8/2021         108.63           0.00       108.63

                                                                                                                     Check Total:    6,389.53           0.00     6,389.53

281          6/21/2021    06/21      SOCALEDI             So. Cal. Edison Co.
 200PMI     700597511758 3100 4/21-5/19/21                22620-0000          3100-060821                6/8/2021     6/28/2021     26,018.94           0.00    26,018.94
 200PMI     700597511758 3100 4/21-5/19/21                73400-0000          3100-060821                6/8/2021     6/28/2021        161.58           0.00       161.58
 200PMI     700597511758 3100 4/21-5/19/21                52130-0000          3100-060821                6/8/2021     6/28/2021       -764.84           0.00      -764.84

                                                                                                                     Check Total:   25,415.68           0.00    25,415.68

282          6/21/2021    06/21      SOCALEDI             So. Cal. Edison Co.
 200PMO     700611698212 #201 4/21-5/19/21                22620-0000          8212-060821                6/8/2021     6/28/2021      1,354.43           0.00     1,354.43
 200PMO     700611698212 #200 4/21-5/19/21                22620-0000          8212-060821                6/8/2021     6/28/2021        461.59           0.00       461.59
 200PMO     700611698212 #203 4/21-5/19/21                22620-0000          8212-060821                6/8/2021     6/28/2021        156.09           0.00       156.09
 200PMO     700611698212 #201 4/21-5/19/21                72710-0010          8212-060821                6/8/2021     6/28/2021        -55.19           0.00       -55.19
 200PMO     700611698212 #200 4/21-5/19/21                72710-0010          8212-060821                6/8/2021     6/28/2021         45.04           0.00        45.04
 200PMO     700611698212 #203 4/21-5/19/21                72710-0010          8212-060821                6/8/2021     6/28/2021         17.31           0.00        17.31

                                                                                                                     Check Total:    1,979.27           0.00     1,979.27

283          6/21/2021     06/21       SOCALEDI           So. Cal. Edison Co.
                             Case 8:21-bk-10958-ES                Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                         Desc
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Database:    MDPROPERTIES                                                            Check Register                                                Page:            13
BANK:        PMDIP-02                                                                M+D Properties                                                Date:     7/15/2021
                                                                                       Axos Bank                                                   Time:     11:35 AM

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                                       Vendor/Alternate
 Check #     Check Date     Check Pd   Address ID         Vendor Name                                 Invoice                    Invoice          Discount      Check
Entity       Reference                  P.O. Number       Account Number     Invoice Number           Date          Due Date     Amount            Amount      Amount


200PMO      700261538417 Park 4/21-5/19/21                22620-0000         PARK-060821              6/8/2021     6/28/2021      634.65             0.00     634.65
200PMI      700261538417 Park 4/21-5/19/21                22620-0000         PARK-060821              6/8/2021     6/28/2021      370.98             0.00     370.98
200PMO      700261538417 Park 4/21-5/19/21                52100-0000         PARK-060821              6/8/2021     6/28/2021       98.94             0.00      98.94
200PMI      700261538417 Park 4/21-5/19/21                52100-0000         PARK-060821              6/8/2021     6/28/2021       57.84             0.00      57.84

                                                                                                                  Check Total:   1,162.41            0.00    1,162.41

284          6/21/2021     06/21       KONE               Kone Inc.
 200PMI     EmergCall 5/2/21 #1 Pass Elev                 51560-0000         1158155327               5/25/2021    5/25/2021       874.96            0.00      874.96
 200PMI     EmergCall 5/7/21 #1 Pass Elev                 51560-0000         1158155878               5/26/2021    5/26/2021     1,031.36            0.00    1,031.36

                                                                                                                  Check Total:   1,906.32            0.00    1,906.32

285          6/21/2021      06/21      FEDEEXPR           Federal Express Corp.
 200PMC     Mail Rent Collections                         73530-0000        7-401-47043               6/11/2021    6/26/2021        21.22            0.00      21.22

                                                                                                                  Check Total:      21.22            0.00      21.22

286          6/28/2021        06/21    CHASECAR           Chase Card Services
 200PMO     Yelp MTM                                      53610-0000        DC-D07.2021               6/17/2021    7/11/2021      350.00             0.00     350.00
 200PMO     Cricket - Security Phone                      50110-0000        DC-D07.2021               6/17/2021    7/11/2021       45.00             0.00      45.00

                                                                                                                  Check Total:    395.00             0.00     395.00

287          6/28/2021      06/21      FEDEEXPR           Federal Express Corp.
 200PMC     Mail to Axos Bank                             73530-0000        7-408-61019               6/18/2021    6/18/2021        38.30            0.00      38.30

                                                                                                                  Check Total:      38.30            0.00      38.30

288          6/28/2021     06/21       OFFICENT           Officenet, Inc.
 200PMC     2 Copiers Overage 4/25-5/24/21                73050-0000         IN57361                  6/11/2021    6/11/2021        49.27            0.00      49.27

                                                                                                                  Check Total:      49.27            0.00      49.27

289          6/28/2021      06/21      POINTEXT           Point Exterminators Inc
 200PMI     Pest Control 5/28/21                          50600-0000         30343                    5/28/2021    5/28/2021      660.00             0.00     660.00

                                                                                                                  Check Total:    660.00             0.00     660.00

290          6/28/2021    06/21      SOCALEDI             So. Cal. Edison Co.
 200PMO     700128787954 1210 4/21-5/19/21                22620-0000          7954-061721             6/17/2021    7/7/2021       105.17             0.00     105.17
 200PMO     700128787954 1210 4/21-5/19/21                72710-0010          7954-061721             6/17/2021    7/7/2021        -7.97             0.00      -7.97
                             Case 8:21-bk-10958-ES                Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                                  Desc
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Database:    MDPROPERTIES                                                          Check Register                                                           Page:              14
BANK:        PMDIP-02                                                              M+D Properties                                                           Date:       7/15/2021
                                                                                     Axos Bank                                                              Time:       11:35 AM

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                                        Vendor/Alternate
 Check #     Check Date      Check Pd   Address ID         Vendor Name                                 Invoice                            Invoice          Discount        Check
Entity       Reference                   P.O. Number       Account Number     Invoice Number           Date           Due Date            Amount            Amount        Amount



                                                                                                                    Check Total:             97.20            0.00         97.20

291          6/28/2021       06/21      SOCALEDI           So. Cal. Edison Co.                                       Unused - Continued Check
 200PML     Carried to 292                                 22620-0000          LTC-061721              6/17/2021     7/7/2021                 0.00            0.00          0.00

                                                                                                                    Check Total:              0.00            0.00          0.00

292          6/28/2021    06/21       SOCALEDI             So. Cal. Edison Co.
 200PML     700553471839 11217 4/21-5/19/2                 22620-0000          LTC-061721              6/17/2021     7/7/2021                75.94            0.00         75.94
 200PML     700093978593 11221 4/21-5/19/2                 22620-0000          LTC-061721              6/17/2021     7/7/2021               364.95            0.00        364.95
 200PML     700243254119 11225 4/21-5/19/2                 22620-0000          LTC-061721              6/17/2021     7/7/2021               190.85            0.00        190.85
 200PML     700616416048 11247 4/21-5/19/2                 22620-0000          LTC-061721              6/17/2021     7/7/2021               578.61            0.00        578.61
 200PML     700523189045 11329 4/21-5/19/2                 22620-0000          LTC-061721              6/17/2021     7/7/2021                88.88            0.00         88.88
 200PML     700551674006 11369 4/21-5/19/2                 22620-0000          LTC-061721              6/17/2021     7/7/2021               114.32            0.00        114.32
 200PML     700523238959 Park 4/21-5/19/2                  22620-0000          LTC-061721              6/17/2021     7/7/2021             1,604.58            0.00      1,604.58
 200PML     700553471839 11217 4/21-5/19/2                 52120-0000          LTC-061721              6/17/2021     7/7/2021                -5.05            0.00         -5.05
 200PML     700093978593 11221 4/21-5/19/2                 52120-0000          LTC-061721              6/17/2021     7/7/2021                19.13            0.00         19.13
 200PML     700243254119 11225 4/21-5/19/2                 52120-0000          LTC-061721              6/17/2021     7/7/2021                -8.38            0.00         -8.38
 200PML     700616416048 11247 4/21-5/19/2                 52120-0000          LTC-061721              6/17/2021     7/7/2021               -95.15            0.00        -95.15
 200PML     700523189045 11329 4/21-5/19/2                 52120-0000          LTC-061721              6/17/2021     7/7/2021                -8.22            0.00         -8.22
 200PML     700551674006 11369 4/21-5/19/2                 52120-0000          LTC-061721              6/17/2021     7/7/2021               -10.30            0.00        -10.30
 200PML     700523238959 Park 4/21-5/19/2                  52100-0000          LTC-061721              6/17/2021     7/7/2021              -119.29            0.00       -119.29

                                                                                                                    Check Total:          2,790.87            0.00      2,790.87

293          6/28/2021    06/21       SOCALEDI             So. Cal. Edison Co.
 200PMO     700378722703 3160 4/21-5/19/21                 22620-0000          OUT-061721              6/17/2021     7/7/2021               141.69            0.00        141.69
 200PMO     700440651846 3180 4/21-5/19/21                 22620-0000          OUT-061721              6/17/2021     7/7/2021               369.90            0.00        369.90
 200PMO     700359290771 3150 3/21-5/19/21                 22620-0000          OUT-061721              6/17/2021     7/7/2021             2,157.96            0.00      2,157.96
 200PMO     700262683219 Prod 4/21-5/19/21                 22620-0000          OUT-061721              6/17/2021     7/7/2021             4,499.32            0.00      4,499.32
 200PMO     700378722703 3160 4/21-5/19/21                 52120-0000          OUT-061721              6/17/2021     7/7/2021               -16.67            0.00        -16.67
 200PMO     700440651846 3180 4/21-5/19/21                 52120-0000          OUT-061721              6/17/2021     7/7/2021               -20.33            0.00        -20.33
 200PMO     700262683219 Prod 4/21-5/19/21                 72710-0010          OUT-061721              6/17/2021     7/7/2021              -119.15            0.00       -119.15

                                                                                                                    Check Total:          7,012.72            0.00      7,012.72

                                                                                                                 Axos Bank Total:       313,512.54            0.00    313,512.54


                                                                                                                    Grand Total:        313,512.54            0.00    313,512.54
                             Case 8:21-bk-10958-ES               Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                           Desc
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BANK:        PMDIP-02                                                             M+D Properties                                                    Date:     7/15/2021
                                                                                    Axos Bank                                                       Time:     11:35 AM

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                                       Vendor/Alternate
 Check #     Check Date     Check Pd   Address ID         Vendor Name                                 Invoice                     Invoice          Discount      Check
Entity       Reference                  P.O. Number       Account Number     Invoice Number           Date          Due Date      Amount            Amount      Amount


207          6/1/2021      06/21       900GPM             Greenland Property Management, LLC
 200PMI     PLX-IN Maint Crew 04/21                       50820-0000        04-2021IN                 4/30/2021    4/30/2021       529.44             0.00     529.44

                                                                                                                  Check Total:     529.44             0.00     529.44

208          6/1/2021     06/21      900GPM               Greenland Property Management, LLC
 200PML     PLX-LTC Maint Crew 04/21                      50820-0000        04-2021LTC                4/30/2021    4/30/2021       352.96             0.00     352.96
 200PML     PLX-LTC Maint Crew 04/21                      50500-0000        04-2021LTC                4/30/2021    4/30/2021       882.40             0.00     882.40

                                                                                                                  Check Total:    1,235.36            0.00    1,235.36

209          6/1/2021     06/21      900GPM               Greenland Property Management, LLC
 200PMO     PLX-OUT Maint Crew 04/21                      50820-0000        04-2021OUT                4/30/2021    4/30/2021       529.44             0.00     529.44
 200PMO     PLX-OUT Maint Crew 04/21                      50500-0000        04-2021OUT                4/30/2021    4/30/2021       882.40             0.00     882.40

                                                                                                                  Check Total:    1,411.84            0.00    1,411.84

210          6/1/2021        06/21     ABZPESTC           ABZ Pest Control
 200PMO     Bird Control 05/21                            50600-0000         474856                   5/20/2021    5/20/2021         91.40            0.00      91.40

                                                                                                                  Check Total:       91.40            0.00      91.40

211          6/1/2021        06/21     ABZPESTC           ABZ Pest Control
 200PML     Bird Control 05/21                            50600-0000         474857                   5/20/2021    5/20/2021       134.60             0.00     134.60

                                                                                                                  Check Total:     134.60             0.00     134.60

212          6/1/2021        06/21   ATT                  AT&T
 200PML     884-9694 105FWY 5/17-6/16/21                  53610-0000         9694-051721              5/17/2021    5/17/2021        104.43            0.00      104.43
 200PML     884-9694 Utility Deposit                      19170-0091         9694-051721              5/17/2021    5/17/2021       -104.34            0.00     -104.34

                                                                                                                  Check Total:        0.09            0.00        0.09

213          6/1/2021        06/21    ATT                 AT&T *** VOID ***                                        Voided Check
 200PMO     608-0668 Signage 5/20-6/19/21                 50700-0000      OUT-052021                  5/20/2021    5/20/2021        107.16            0.00      107.16
 200PMO     608-0668 Utility Deposit                      19170-0091      OUT-052021                  5/20/2021    5/20/2021       -106.97            0.00     -106.97
 200PMO     608-0668 Signage 4/20-5/19/21                 50700-0000      OUT-052021                  5/20/2021    5/20/2021        107.28            0.00      107.28
 200PMO     764-5420 Signage 5/20-6/19/21                 50700-0000      OUT-052021                  5/20/2021    5/20/2021         72.76            0.00       72.76
 200PMO     764-5420 Utility Deposit                      19170-0091      OUT-052021                  5/20/2021    5/20/2021        -72.52            0.00      -72.52
 200PMO     764-5420 Overpaid                             50700-0000      OUT-052021                  5/20/2021    5/20/2021       -180.16            0.00     -180.16
 200PMO     764-5420 Signage 4/20-5/19/21                 50700-0000      OUT-052021                  5/20/2021    5/20/2021         72.88            0.00       72.88
 200PMO     change amt                                    50700-0000      OUT-052021                  5/20/2021    5/20/2021       -107.16            0.00     -107.16
                             Case 8:21-bk-10958-ES                Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                          Desc
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BANK:        PMDIP-02                                                              M+D Properties                                                   Date:      7/15/2021
                                                                                     Axos Bank                                                      Time:      11:35 AM

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                                       Vendor/Alternate
 Check #     Check Date     Check Pd   Address ID         Vendor Name                                  Invoice                    Invoice          Discount       Check
Entity       Reference                  P.O. Number       Account Number     Invoice Number            Date          Due Date     Amount            Amount       Amount


200PMO      change amt                                    19170-0091         OUT-052021                5/20/2021    5/20/2021        106.97           0.00       106.97
200PMO      change amt                                    50700-0000         OUT-052021                5/20/2021    5/20/2021       -107.28           0.00      -107.28
200PMO      change amt                                    50700-0000         OUT-052021                5/20/2021    5/20/2021        -72.76           0.00       -72.76
200PMO      change amt                                    19170-0091         OUT-052021                5/20/2021    5/20/2021         72.52           0.00        72.52
200PMO      change amt                                    50700-0000         OUT-052021                5/20/2021    5/20/2021        180.16           0.00       180.16
200PMO      change amt                                    50700-0000         OUT-052021                5/20/2021    5/20/2021        -72.88           0.00       -72.88

                                                                                                                   Check Total:        0.00           0.00         0.00

214          6/1/2021       06/21        BETTERBE         Better & Best Building Service Inc
 200PMI     Arcade 2nd Flr Buffing 05/21                  51010-0000          12318                    5/15/2021    5/15/2021       140.00            0.00      140.00

                                                                                                                   Check Total:     140.00            0.00      140.00

215          6/1/2021        06/21     BETTERBE           Better & Best Building Service Inc
 200PMI     Janitorial 05/21                              51010-0000          12319                    5/15/2021    5/15/2021      5,083.00           0.00     5,083.00

                                                                                                                   Check Total:    5,083.00           0.00     5,083.00

216          6/1/2021        06/21     BETTERBE           Better & Best Building Service Inc
 200PML     Janitorial 05/21                              51010-0000          12320                    5/15/2021    5/15/2021      9,223.00           0.00     9,223.00
 200PML     Sweeping 05/21                                50400-0000          12320                    5/15/2021    5/15/2021      1,312.00           0.00     1,312.00
 200PML     PressureWash 05/21                            50410-0000          12320                    5/15/2021    5/15/2021        600.00           0.00       600.00

                                                                                                                   Check Total:   11,135.00           0.00    11,135.00

217          6/1/2021        06/21     BETTERBE           Better & Best Building Service Inc
 200PMI     Sweeping 05/21                                50400-0000          12321                    5/15/2021    5/15/2021        806.78           0.00       806.78
 200PMO     Sweeping 05/21                                50400-0000          12321                    5/15/2021    5/15/2021      1,380.22           0.00     1,380.22
 200PMI     PressureWash 05/21                            50410-0000          12321                    5/15/2021    5/15/2021        885.36           0.00       885.36
 200PMO     PressureWash 05/21                            50410-0000          12321                    5/15/2021    5/15/2021      1,514.64           0.00     1,514.64
 200PMO     Janitorial 05/21                              51010-0000          12321                    5/15/2021    5/15/2021     24,321.96           0.00    24,321.96
 200PMI     Janitorial 05/21                              51010-0000          12321                    5/15/2021    5/15/2021     14,217.04           0.00    14,217.04

                                                                                                                   Check Total:   43,126.00           0.00    43,126.00

218          6/1/2021     06/21       CONTEMPO            Contemporary Information Corp.
 200PMO     Carmen Lopez Credit Check                     73400-0000        548880                     5/27/2021    5/27/2021        20.00            0.00       20.00
 200PMO     Esmeralda Rangel Credit check                 73400-0000        548880                     5/27/2021    5/27/2021        20.00            0.00       20.00

                                                                                                                   Check Total:      40.00            0.00       40.00
                             Case 8:21-bk-10958-ES                Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                         Desc
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BANK:        PMDIP-02                                                                M+D Properties                                                Date:      7/15/2021
                                                                                       Axos Bank                                                   Time:      11:35 AM

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                                       Vendor/Alternate
 Check #     Check Date     Check Pd   Address ID         Vendor Name                                 Invoice                    Invoice          Discount       Check
Entity       Reference                  P.O. Number       Account Number     Invoice Number           Date          Due Date     Amount            Amount       Amount


219          6/1/2021     06/21        EPAXSYST           Epax Systems, Inc.
 200PMO     30YD Trash Comp 05/21                         52180-0000         27653                    5/1/2021     5/1/2021        414.00            0.00      414.00
 200PMI     30YD Trash Comp 05/21                         52180-0000         27653                    5/1/2021     5/1/2021        241.99            0.00      241.99

                                                                                                                  Check Total:     655.99            0.00      655.99

220          6/1/2021     06/21        FIRSTINS           First Insurance Funding Corp.
 200PMI     PM 20-21 EQ Insurance                         19310-0000         05.18.21                 5/18/2021    6/5/2021       2,768.10           0.00     2,768.10
 200PML     PM 20-21 EQ Insurance                         19310-0000         05.18.21                 5/18/2021    6/5/2021       5,219.34           0.00     5,219.34
 200PMO     PM 20-21 EQ Insurance                         19310-0000         05.18.21                 5/18/2021    6/5/2021       5,289.82           0.00     5,289.82

                                                                                                                  Check Total:   13,277.26           0.00    13,277.26

221          6/1/2021     06/21      FRANTAXB             Franchise Tax Board
 200PMC     XX-XXXXXXX 2021 FTB 3536                      78950-0060        3536PLX2021               5/24/2021    6/15/2021     11,790.00           0.00    11,790.00

                                                                                                                  Check Total:   11,790.00           0.00    11,790.00

222          6/1/2021        06/21     GTOSECUR           GTO Security
 200PML     Security 5/1-5/15/21                          50110-0000         PILTC051521              5/15/2021    5/15/2021      6,660.00           0.00     6,660.00

                                                                                                                  Check Total:    6,660.00           0.00     6,660.00

223          6/1/2021        06/21     GTOSECUR           GTO Security
 200PMO     Security 5/1-5/15/21                          50110-0000         PIPME051521              5/15/2021    5/15/2021     18,458.10           0.00    18,458.10
 200PMI     Security 5/1-5/15/21                          50110-0000         PIPME051521              5/15/2021    5/15/2021     10,789.40           0.00    10,789.40

                                                                                                                  Check Total:   29,247.50           0.00    29,247.50

224          6/1/2021     06/21        HOMEDEPO           Home Depot Credit Services
 200PML     Repl Broken Water Valve                       51630-0000        618558712                 5/21/2021    5/21/2021          7.03           0.00         7.03

                                                                                                                  Check Total:        7.03           0.00         7.03

225          6/1/2021       06/21     K9FINANC            K-9 Financial, LLC
 200PMO     CV-04 Vertical Comp 05/21                     52180-0000         18034                    5/1/2021     5/1/2021        214.99            0.00      214.99

                                                                                                                  Check Total:     214.99            0.00      214.99

226          6/1/2021      06/21       KONE               Kone Inc.
 200PML     N6_Pass Elev 05/21                            51550-0000         959850647                5/1/2021     5/1/2021        464.81            0.00      464.81
                             Case 8:21-bk-10958-ES                 Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                         Desc
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Database:    MDPROPERTIES                                                          Check Register                                                   Page:             4
BANK:        PMDIP-02                                                              M+D Properties                                                   Date:     7/15/2021
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                                         Vendor/Alternate
 Check #     Check Date     Check Pd     Address ID         Vendor Name                                Invoice                    Invoice          Discount      Check
Entity       Reference                    P.O. Number       Account Number    Invoice Number           Date          Due Date     Amount            Amount      Amount



                                                                                                                   Check Total:    464.81             0.00     464.81

227           6/1/2021     06/21         KONE               Kone Inc.
 200PMI     IN_Pass & Esc 05/21                             51550-0000        959850648                5/1/2021     5/1/2021      3,562.05            0.00    3,562.05

                                                                                                                   Check Total:   3,562.05            0.00    3,562.05

228          6/1/2021    06/21           KONE               Kone Inc.
 200PMO     OUT_Pass & Esc 05/21                            51550-0000        959850649                5/1/2021     5/1/2021      2,389.69            0.00    2,389.69

                                                                                                                   Check Total:   2,389.69            0.00    2,389.69

229          6/1/2021      06/21         RODRIGJO           Jose Rodriguez
 200PMO     Landscaping 5/2021                              50500-0000        05.31.21                 5/31/2021    5/31/2021     1,000.00            0.00    1,000.00
 200PML     Landscaping 5/2021                              50500-0000        05.31.21                 5/31/2021    5/31/2021     1,000.00            0.00    1,000.00

                                                                                                                   Check Total:   2,000.00            0.00    2,000.00

230           6/1/2021        06/21      SMARDANS           SMARDAN SUPPLY CO.
 200PMI     Install Cleanup in 99Cents                      51630-0000    S3677268.001                 5/20/2021    5/20/2021        96.66            0.00      96.66

                                                                                                                   Check Total:      96.66            0.00      96.66

231          6/1/2021       06/21       SUNPACCO            SUN PAC CONTAINERS
 200PMO     22' Storage Container 05/21                     72530-0000     3624233                     5/1/2021     5/1/2021         77.00            0.00      77.00
 200PMO     26' Storage Container 05/21                     72530-0000     3624234                     5/1/2021     5/1/2021         97.00            0.00      97.00

                                                                                                                   Check Total:    174.00             0.00     174.00

232          6/1/2021      06/21         TRICHEMT           Tri-Chem Technology, Corp.
 200PMI     Wtr Treatment Svc 05/21                         51600-0000       67819                     5/6/2021     5/6/2021       200.00             0.00     200.00

                                                                                                                   Check Total:    200.00             0.00     200.00

233          6/1/2021     06/21          WASTERES           Waste Resources, Inc.
 200PML     024760 11215 05/21                              52180-0000        0001514082               5/1/2021     5/1/2021       538.28             0.00     538.28
 200PML     024759 11391 05/21                              52180-0000        0001514081               5/1/2021     5/1/2021       478.40             0.00     478.40
 200PML     024758 11337 05/21                              52180-0000        0001514080               5/1/2021     5/1/2021       478.40             0.00     478.40
 200PML     024760 11331 05/21                              52180-0000        0001514085               5/1/2021     5/1/2021       478.40             0.00     478.40
 200PML     024760 11301 05/21                              52180-0000        0001514084               5/1/2021     5/1/2021       478.40             0.00     478.40
 200PML     024760 11247 05/21                              52180-0000        0001514083               5/1/2021     5/1/2021       478.40             0.00     478.40
                             Case 8:21-bk-10958-ES                Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                         Desc
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BANK:        PMDIP-02                                                              M+D Properties                                                  Date:     7/15/2021
                                                                                     Axos Bank                                                     Time:     11:35 AM

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                                        Vendor/Alternate
 Check #     Check Date     Check Pd    Address ID         Vendor Name                                Invoice                    Invoice          Discount      Check
Entity       Reference                   P.O. Number       Account Number    Invoice Number           Date          Due Date     Amount            Amount      Amount



                                                                                                                  Check Total:   2,930.28            0.00    2,930.28

234          6/1/2021      06/21        WASTERES           Waste Resources, Inc.
 200PMO     020938 3100 4/1-4/15/21                        52180-0000        0001478785               4/15/2021    4/15/2021     3,973.09            0.00    3,973.09
 200PMI     020938 3100 4/1-4/15/21                        52180-0000        0001478785               4/15/2021    4/15/2021     2,322.41            0.00    2,322.41

                                                                                                                  Check Total:   6,295.50            0.00    6,295.50

235          6/1/2021      06/21        WASTERES           Waste Resources, Inc.
 200PMO     020938 3100 4/17-4/30/21                       52180-0000        0001513673               4/30/2021    4/30/2021     3,248.91            0.00    3,248.91
 200PMI     020938 3100 4/17-4/30/21                       52180-0000        0001513673               4/30/2021    4/30/2021     1,899.10            0.00    1,899.10

                                                                                                                  Check Total:   5,148.01            0.00    5,148.01

236          6/1/2021       06/21       WOOSPOOL           Woo's Pool Service
 200PMO     Fountain Cleaning 05/21                        50620-0000         05242021                5/24/2021    5/24/2021      820.43             0.00     820.43
 200PMI     Fountain Cleaning 05/21                        50620-0000         05242021                5/24/2021    5/24/2021      479.57             0.00     479.57

                                                                                                                  Check Total:   1,300.00            0.00    1,300.00

237          6/1/2021       06/21       YOUNGELC           Young Electric Sign Company
 200PML     LB Sign Maint 05/21                            50700-0000         INY-0287290             5/1/2021     5/1/2021       250.00             0.00     250.00

                                                                                                                  Check Total:    250.00             0.00     250.00

238          6/1/2021       06/21       YOUNGELC           Young Electric Sign Company
 200PMO     Imperial Sign Maint 05/21                      50700-0000         INY-0287449             5/1/2021     5/1/2021       157.78             0.00     157.78
 200PMI     Imperial Sign Maint 05/21                      50700-0000         INY-0287449             5/1/2021     5/1/2021        92.22             0.00      92.22

                                                                                                                  Check Total:    250.00             0.00     250.00

239          6/1/2021       06/21       YOUNGELC           Young Electric Sign Company
 200PML     P-Lot Lights Maint 05/21                       50210-0000         INY-0287455             5/1/2021     5/1/2021       700.00             0.00     700.00

                                                                                                                  Check Total:    700.00             0.00     700.00

240          6/1/2021       06/21       YOUNGELC           Young Electric Sign Company
 200PMO     P-Lot Lights Maint 05/21                       50210-0000         INY-0287490             5/1/2021     5/1/2021       567.99             0.00     567.99
 200PMI     P-Lot Lights Maint 05/21                       50210-0000         INY-0287490             5/1/2021     5/1/2021       332.01             0.00     332.01
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                                      Vendor/Alternate
 Check #     Check Date    Check Pd   Address ID         Vendor Name                               Invoice                    Invoice          Discount       Check
Entity       Reference                 P.O. Number       Account Number   Invoice Number           Date          Due Date     Amount            Amount       Amount



                                                                                                               Check Total:     900.00            0.00      900.00

241          6/1/2021     06/21       900GPM             Greenland Property Management, LLC
 200PMI     PLX-IN Mgmt Fee 04/21                        53910-0000        IN202104                4/26/2021    4/26/2021      9,896.69           0.00     9,896.69

                                                                                                               Check Total:    9,896.69           0.00     9,896.69

242          6/1/2021    06/21        900GPM             Greenland Property Management, LLC
 200PML     PLX-LTC Mgmt Fee 04/21                       53910-0000        LTC202104               4/26/2021    4/26/2021      6,985.22           0.00     6,985.22

                                                                                                               Check Total:    6,985.22           0.00     6,985.22

243          6/1/2021    06/21     900GPM                Greenland Property Management, LLC
 200PMO     PLX-OUT Mgmt Fee 04/21                       53910-0000        OUT202104               4/26/2021    4/26/2021      8,960.63           0.00     8,960.63

                                                                                                               Check Total:    8,960.63           0.00     8,960.63

244          6/1/2021      06/21     900GPM              Greenland Property Management, LLC
 200PMI     PLX-IN Mgmt Fee 05/21                        53910-0000        202105IN                5/25/2021    5/25/2021      9,145.20           0.00     9,145.20
 200PMO     PLX-OUT Maint Crew 05/21                     50820-0000        05-2021OUT              5/31/2021    5/31/2021        294.02           0.00       294.02
 200PMI     PLX-IN Maint Crew 05/21                      50820-0000        05-2021IN               5/31/2021    5/31/2021        294.24           0.00       294.24
 200PML     PLX-LTC Maint Crew 05/21                     50820-0000        05-2021LTC              5/31/2021    5/31/2021        294.02           0.00       294.02
 200PML     PLX-LTC Maint Crew 05/21                     50500-0000        05-2021LTC              5/31/2021    5/31/2021      1,323.40           0.00     1,323.40
 200PMO     PLX-OUT Maint Crew 05/21                     50500-0000        05-2021OUT              5/31/2021    5/31/2021      1,323.40           0.00     1,323.40

                                                                                                               Check Total:   12,674.28           0.00    12,674.28

245          6/1/2021    06/21        900GPM             Greenland Property Management, LLC
 200PML     PLX-LTC Mgmt Fee 05/21                       53910-0000        202105LTC               5/24/2021    5/24/2021      8,193.42           0.00     8,193.42

                                                                                                               Check Total:    8,193.42           0.00     8,193.42

246          6/1/2021    06/21     900GPM                Greenland Property Management, LLC
 200PMO     PLX-OUT Mgmt Fee 05/21                       53910-0000        202105OUT               5/25/2021    5/25/2021     17,574.53           0.00    17,574.53

                                                                                                               Check Total:   17,574.53           0.00    17,574.53

247          6/7/2021       06/21     ABMBUILD           ABM Building Solution, LLC
 200PMI     Leasing Ofc - AC down                        72530-0000        16151071                5/25/2021    5/25/2021      1,200.00           0.00     1,200.00
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 Check #     Check Date    Check Pd     Address ID         Vendor Name                                   Invoice                    Invoice          Discount      Check
Entity       Reference                   P.O. Number       Account Number    Invoice Number              Date          Due Date     Amount            Amount      Amount



                                                                                                                     Check Total:   1,200.00            0.00    1,200.00

248          6/7/2021     06/21       ATT                  AT&T
 200PMO     632-3606 105Fwy 5/26-6/25/21                   53610-0000        3606-052621                 5/26/2021    5/26/2021       113.93            0.00      113.93
 200PMO     632-3606 105Fwy UtilityDeposit                 19170-0091        3606-052621                 5/26/2021    5/26/2021      -113.84            0.00     -113.84

                                                                                                                     Check Total:       0.09            0.00        0.09

249          6/7/2021      06/21        POINTEXT           Point Exterminators Inc
 200PML     LTC Pest Control 5/14/21                       50600-0000         30320                      5/14/2021    5/14/2021      150.00             0.00     150.00

                                                                                                                     Check Total:    150.00             0.00     150.00

250          6/7/2021      06/21        POINTEXT           Point Exterminators Inc
 200PMO     3170 Pest Control 5/14/21                      50600-0000         30321                      5/14/2021    5/14/2021        50.00            0.00      50.00

                                                                                                                     Check Total:      50.00            0.00      50.00

251          6/7/2021      06/21       POINTEXT            Point Exterminators Inc
 200PMO     LA Care Pest Control 05/14/21                  50600-0000         30322                      5/14/2021    5/14/2021        50.00            0.00      50.00

                                                                                                                     Check Total:      50.00            0.00      50.00

252          6/7/2021      06/21      RESCUERO             American Residential Services, LLC
 200PMO     B11315 Drain Line clogged                      51630-0000        8102-50162                  5/29/2021    5/29/2021      975.00             0.00     975.00

                                                                                                                     Check Total:    975.00             0.00     975.00

253          6/8/2021        06/21    ATT                  AT&T
 200PMO     608-0668 Signage 5/20-6/19/21                  50700-0000        OUT-052021                  5/20/2021    5/20/2021       107.16            0.00      107.16
 200PMO     608-0668 Utility Deposit                       19170-0091        OUT-052021                  5/20/2021    5/20/2021      -106.97            0.00     -106.97
 200PMO     608-0668 Signage 4/20-5/19/21                  50700-0000        OUT-052021                  5/20/2021    5/20/2021       107.28            0.00      107.28

                                                                                                                     Check Total:    107.47             0.00     107.47

254          6/8/2021       06/21       BROADSIG/MAI       Broadsign International Inc.
 200PMO     Subscription 5/2021                            22620-0000         INV00029737                5/31/2021    5/31/2021      431.25             0.00     431.25

                                                                                                                     Check Total:    431.25             0.00     431.25

255          6/8/2021      06/21        WASTERES           Waste Resources, Inc.
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 Check #     Check Date     Check Pd    Address ID         Vendor Name                                Invoice                    Invoice          Discount       Check
Entity       Reference                   P.O. Number       Account Number    Invoice Number           Date          Due Date     Amount            Amount       Amount


200PMO      075646 3180 4/14-04/30/21                      52180-0000       0001514574.               5/1/2021     5/1/2021        -306.04           0.00      -306.04
200PMO      075646 3180 4/14-5/31/21                       52180-0000       0001514574                5/1/2021     5/1/2021         829.96           0.00       829.96
200PMO      075645 3170 4/14-4/30/21                       52180-0000       0001514573.               5/1/2021     5/1/2021      -1,300.27           0.00    -1,300.27
200PMO      075645 3170 4/14-5/31/21                       52180-0000       0001514573                5/1/2021     5/1/2021       3,720.99           0.00     3,720.99
200PMO      075644 3102 4/14-4/30/21                       52180-0000       0001514572.               5/1/2021     5/1/2021      -1,300.27           0.00    -1,300.27
200PMO      075644 3102 4/14-5/31/21                       52180-0000       0001514572                5/1/2021     5/1/2021       3,720.99           0.00     3,720.99

                                                                                                                  Check Total:    5,365.36           0.00     5,365.36

256          6/14/2021      06/21       ATT                AT&T
 200PMC     300872499 Utility Deposit                      19170-0092       05.04.21.                 5/4/2021     5/4/2021         -42.80           0.00       -42.80
 200PMC     PM Internet 6/5-7/4/21                         72340-0000       06.04.21                  6/4/2021     6/4/2021          42.80           0.00        42.80
 200PMC     PM Internet 5/5-6/4/21                         72340-0000       05.04.21                  5/4/2021     5/25/2021         42.80           0.00        42.80

                                                                                                                  Check Total:      42.80            0.00       42.80

257          6/14/2021     06/21        ATT                AT&T
 200PML     639-0184 3200 6/4-7/3/21                       51650-0000       0184-060421               6/4/2021     6/4/2021        323.29            0.00      323.29

                                                                                                                  Check Total:     323.29            0.00      323.29

258          6/14/2021       06/21      GTOSECUR           GTO Security
 200PML     Security 5/16-5/31/21                          22620-0000       PILTC053121               5/31/2021    5/31/2021      7,104.00           0.00     7,104.00

                                                                                                                  Check Total:    7,104.00           0.00     7,104.00

259          6/14/2021       06/21      GTOSECUR           GTO Security
 200PMO     Security 5/16-5/31/21                          22620-0000       PIPME053121               5/31/2021    5/31/2021     17,818.48           0.00    17,818.48
 200PMI     Security 5/16-5/31/21                          22620-0000       PIPME053121               5/31/2021    5/31/2021     10,415.52           0.00    10,415.52
 200PMO     Security 5/16-5/31/21                          50110-0000       PIPME053121               5/31/2021    5/31/2021      1,918.23           0.00     1,918.23
 200PMI     Security 5/16-5/31/21                          50110-0000       PIPME053121               5/31/2021    5/31/2021      1,121.27           0.00     1,121.27

                                                                                                                  Check Total:   31,273.50           0.00    31,273.50

260          6/14/2021      06/21       PETTYDIK           Petty Cash Custodian-Diana Kwak
 200PMO     Fixed canopy at PM                             53610-0000        Upto05.12.21             5/14/2021    5/14/2021        40.00            0.00       40.00
 200PMO     Fund PLX-011                                   11298-0000        Upto05.12.21             5/14/2021    5/14/2021       110.90            0.00      110.90

                                                                                                                  Check Total:     150.90            0.00      150.90

261          6/14/2021       06/21      ATT                AT&T
 200PML     604-1580 Utility Deposit                       19170-0091       1580-050821.              5/8/2021     5/8/2021        -107.20           0.00      -107.20
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 Check #     Check Date     Check Pd   Address ID         Vendor Name                                 Invoice                     Invoice          Discount      Check
Entity       Reference                  P.O. Number       Account Number    Invoice Number            Date          Due Date      Amount            Amount      Amount


200PML      604-1580 Signage 6/8-7/7/21                   50700-0000        1580-060821               6/8/2021     6/30/2021        107.16            0.00      107.16
200PML      604-1580 Signage 5/8-6/7/21                   50700-0000        1580-050821               5/8/2021     5/8/2021         108.06            0.00      108.06
200PML      604-1580 Signage 5/8-6/7/21                   73400-0000        1580-050821               5/8/2021     5/8/2021          10.00            0.00       10.00

                                                                                                                  Check Total:      118.02            0.00      118.02

262          6/21/2021       06/21     ABMBUILD           ABM Building Solution, LLC *** VOID ***                  Voided Check
 200PMI     Qtrly Maint 5/1-7/31/21                       51600-0000        16157109              5/31/2021        5/31/2021       1,498.75           0.00     1,498.75
 200PMI     CK did not print                              51600-0000        16157109              5/31/2021        5/31/2021      -1,498.75           0.00    -1,498.75

                                                                                                                  Check Total:        0.00            0.00        0.00

263          6/21/2021       06/21     ATT                AT&T *** VOID ***                                        Voided Check
 200PMI     631-0048 Elev 6/11-7/10/21                    51650-0000      0048-061121                 6/11/2021    7/6/2021         109.26            0.00      109.26
 200PMI     CK did not print                              51650-0000      0048-061121                 6/11/2021    7/6/2021        -109.26            0.00     -109.26

                                                                                                                  Check Total:        0.00            0.00        0.00

264          6/21/2021       06/21    ATT                 AT&T *** VOID ***                                        Voided Check
 200PMO     605-5107 3150 6/10-7/9/21                     51650-0000      5107-061021                 6/10/2021    7/2/2021         205.13            0.00      205.13
 200PMO     CK did not print                              51650-0000      5107-061021                 6/10/2021    7/2/2021        -205.13            0.00     -205.13

                                                                                                                  Check Total:        0.00            0.00        0.00

265          6/21/2021       06/21   ATT                  AT&T *** VOID ***                                        Voided Check
 200PMC     631-6789 PM 6/11-7/10/21                      72220-0000      6789-061121                 6/11/2021    7/6/2021         384.67            0.00      384.67
 200PMC     CK did not print                              72220-0000      6789-061121                 6/11/2021    7/6/2021        -384.67            0.00     -384.67

                                                                                                                  Check Total:        0.00            0.00        0.00

266          6/21/2021       06/21   DIRECTTV             DirecTV *** VOID ***                                     Voided Check
 200PMO     DTVFoodCourts 6/8-7/7/21                      53610-0000      06.09.21                    6/9/2021     6/28/2021        179.99            0.00      179.99
 200PMO     CK did not print                              53610-0000      06.09.21                    6/9/2021     6/28/2021       -179.99            0.00     -179.99

                                                                                                                  Check Total:        0.00            0.00        0.00

267          6/21/2021       06/21    MAXTGROU            Maxtel Group   *** VOID ***                              Voided Check
 200PMC     Troubleshoot & Rep Phone Sys                  72220-0000         37547                    6/9/2021     6/9/2021         150.00            0.00      150.00
 200PMC     CK did not print                              72220-0000         37547                    6/9/2021     6/9/2021        -150.00            0.00     -150.00

                                                                                                                  Check Total:        0.00            0.00        0.00
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 Check #     Check Date     Check Pd   Address ID         Vendor Name                                   Invoice                      Invoice          Discount       Check
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268          6/21/2021       06/21     OFFICENT           Officenet, Inc.   *** VOID ***                             Voided Check
 200PMC     2 Copiers Overage 4/25-5/24/21                73050-0000            IN57361                 6/11/2021    6/11/2021           49.27           0.00         49.27
 200PMC     CK did not print                              73050-0000            IN57361                 6/11/2021    6/11/2021          -49.27           0.00        -49.27

                                                                                                                    Check Total:         0.00            0.00         0.00

269          6/21/2021       06/21     POINTEXT           Point Exterminators Inc *** VOID ***                       Voided Check
 200PMI     Pest Control 5/28/21                          50600-0000         30343                      5/28/2021    5/28/2021         660.00            0.00       660.00
 200PMI     CK did not print                              50600-0000         30343                      5/28/2021    5/28/2021        -660.00            0.00      -660.00

                                                                                                                    Check Total:         0.00            0.00         0.00

270          6/21/2021       06/21     SOCALEDI           So. Cal. Edison Co. *** VOID ***                           Voided Check
 200PMO     P2_3170 4/22-5/20/21                          22620-0000         2472-060821                6/8/2021     6/8/2021         1,772.93           0.00      1,772.93
 200PMO     P1_Imp Sign 4/22-5/20/21                      22620-0000         2472-060821                6/8/2021     6/8/2021         2,816.35           0.00      2,816.35
 200PMO     P1_Imp Sign 4/22-5/20/21                      22620-0000         2472-060821                6/8/2021     6/8/2021         1,646.25           0.00      1,646.25
 200PMO     P2_3170 4/22-5/20/21                          52120-0000         2472-060821                6/8/2021     6/8/2021          -140.48           0.00       -140.48
 200PMO     P1_Imp Sign 4/22-5/20/21                      52110-0000         2472-060821                6/8/2021     6/8/2021           185.85           0.00        185.85
 200PMI     P1_Imp Sign 4/22-5/20/21                      52110-0000         2472-060821                6/8/2021     6/8/2021           108.63           0.00        108.63
 200PMO     CK did not print                              22620-0000         2472-060821                6/8/2021     6/8/2021        -1,772.93           0.00     -1,772.93
 200PMO     CK did not print                              22620-0000         2472-060821                6/8/2021     6/8/2021        -2,816.35           0.00     -2,816.35
 200PMO     CK did not print                              22620-0000         2472-060821                6/8/2021     6/8/2021        -1,646.25           0.00     -1,646.25
 200PMO     CK did not print                              52120-0000         2472-060821                6/8/2021     6/8/2021           140.48           0.00        140.48
 200PMO     CK did not print                              52110-0000         2472-060821                6/8/2021     6/8/2021          -185.85           0.00       -185.85
 200PMI     CK did not print                              52110-0000         2472-060821                6/8/2021     6/8/2021          -108.63           0.00       -108.63

                                                                                                                    Check Total:         0.00            0.00         0.00

271          6/21/2021       06/21   SOCALEDI             So. Cal. Edison Co. *** VOID ***                           Voided Check
 200PMI     700597511758 3100 4/21-5/19/21                22620-0000         3100-060821                6/8/2021     6/28/2021       26,018.94           0.00     26,018.94
 200PMI     700597511758 3100 4/21-5/19/21                73400-0000         3100-060821                6/8/2021     6/28/2021          161.58           0.00        161.58
 200PMI     700597511758 3100 4/21-5/19/21                52130-0000         3100-060821                6/8/2021     6/28/2021         -764.84           0.00       -764.84
 200PMI     CK did not print                              22620-0000         3100-060821                6/8/2021     6/28/2021      -26,018.94           0.00    -26,018.94
 200PMI     CK did not print                              73400-0000         3100-060821                6/8/2021     6/28/2021         -161.58           0.00       -161.58
 200PMI     CK did not print                              52130-0000         3100-060821                6/8/2021     6/28/2021          764.84           0.00        764.84

                                                                                                                    Check Total:         0.00            0.00         0.00

272          6/21/2021    06/21      SOCALEDI             So. Cal. Edison Co. *** VOID ***                           Voided Check
 200PMO     700611698212 #201 4/21-5/19/21                22620-0000         8212-060821                6/8/2021     6/28/2021       1,354.43            0.00     1,354.43
 200PMO     700611698212 #200 4/21-5/19/21                22620-0000         8212-060821                6/8/2021     6/28/2021         461.59            0.00       461.59
                             Case 8:21-bk-10958-ES               Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                          Desc
                                                                 Main Document    Page 55 of 105
Database:    MDPROPERTIES                                                        Check Register                                                    Page:             11
BANK:        PMDIP-02                                                            M+D Properties                                                    Date:      7/15/2021
                                                                                   Axos Bank                                                       Time:      11:35 AM

                                                                               06/21 Through 06/21

                                       Vendor/Alternate
 Check #     Check Date     Check Pd   Address ID         Vendor Name                                Invoice                     Invoice          Discount      Check
Entity       Reference                  P.O. Number       Account Number    Invoice Number           Date          Due Date      Amount            Amount      Amount


200PMO      700611698212 #203 4/21-5/19/21                22620-0000        8212-060821              6/8/2021     6/28/2021         156.09           0.00       156.09
200PMO      700611698212 #201 4/21-5/19/21                72710-0010        8212-060821              6/8/2021     6/28/2021         -55.19           0.00       -55.19
200PMO      700611698212 #200 4/21-5/19/21                72710-0010        8212-060821              6/8/2021     6/28/2021          45.04           0.00        45.04
200PMO      700611698212 #203 4/21-5/19/21                72710-0010        8212-060821              6/8/2021     6/28/2021          17.31           0.00        17.31
200PMO      CK did not print                              22620-0000        8212-060821              6/8/2021     6/28/2021      -1,354.43           0.00    -1,354.43
200PMO      CK did not print                              22620-0000        8212-060821              6/8/2021     6/28/2021        -461.59           0.00      -461.59
200PMO      CK did not print                              22620-0000        8212-060821              6/8/2021     6/28/2021        -156.09           0.00      -156.09
200PMO      CK did not print                              72710-0010        8212-060821              6/8/2021     6/28/2021          55.19           0.00        55.19
200PMO      CK did not print                              72710-0010        8212-060821              6/8/2021     6/28/2021         -45.04           0.00       -45.04
200PMO      CK did not print                              72710-0010        8212-060821              6/8/2021     6/28/2021         -17.31           0.00       -17.31

                                                                                                                 Check Total:        0.00            0.00        0.00

273          6/21/2021       06/21    SOCALEDI            So. Cal. Edison Co. *** VOID ***                        Voided Check
 200PMO     700261538417 Park 4/21-5/19/21                22620-0000         PARK-060821             6/8/2021     6/28/2021        634.65            0.00      634.65
 200PMI     700261538417 Park 4/21-5/19/21                22620-0000         PARK-060821             6/8/2021     6/28/2021        370.98            0.00      370.98
 200PMO     700261538417 Park 4/21-5/19/21                52100-0000         PARK-060821             6/8/2021     6/28/2021         98.94            0.00       98.94
 200PMI     700261538417 Park 4/21-5/19/21                52100-0000         PARK-060821             6/8/2021     6/28/2021         57.84            0.00       57.84
 200PMO     CK did not print                              22620-0000         PARK-060821             6/8/2021     6/28/2021       -634.65            0.00     -634.65
 200PMI     CK did not print                              22620-0000         PARK-060821             6/8/2021     6/28/2021       -370.98            0.00     -370.98
 200PMO     CK did not print                              52100-0000         PARK-060821             6/8/2021     6/28/2021        -98.94            0.00      -98.94
 200PMI     CK did not print                              52100-0000         PARK-060821             6/8/2021     6/28/2021        -57.84            0.00      -57.84

                                                                                                                 Check Total:        0.00            0.00        0.00

274          6/21/2021       06/21     ABMBUILD           ABM Building Solution, LLC
 200PMI     Qtrly Maint 5/1-7/31/21                       51600-0000        16157109                 5/31/2021    5/31/2021      1,498.75            0.00    1,498.75

                                                                                                                 Check Total:    1,498.75            0.00    1,498.75

275          6/21/2021     06/21       ATT                AT&T
 200PMI     631-0048 Elev 6/11-7/10/21                    51650-0000        0048-061121              6/11/2021    7/6/2021         109.26            0.00      109.26

                                                                                                                 Check Total:      109.26            0.00      109.26

276          6/21/2021     06/21      ATT                 AT&T
 200PMO     605-5107 3150 6/10-7/9/21                     51650-0000        5107-061021              6/10/2021    7/2/2021         205.13            0.00      205.13

                                                                                                                 Check Total:      205.13            0.00      205.13

277          6/21/2021      06/21      ATT                AT&T
                            Case 8:21-bk-10958-ES                 Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                            Desc
                                                                  Main Document    Page 56 of 105
Database:    MDPROPERTIES                                                               Check Register                                                Page:             12
BANK:        PMDIP-02                                                                   M+D Properties                                                Date:      7/15/2021
                                                                                          Axos Bank                                                   Time:      11:35 AM

                                                                                   06/21 Through 06/21

                                       Vendor/Alternate
 Check #     Check Date    Check Pd    Address ID         Vendor Name                                    Invoice                    Invoice          Discount       Check
Entity       Reference                  P.O. Number       Account Number        Invoice Number           Date          Due Date     Amount            Amount       Amount


200PMC      631-6789 PM 6/11-7/10/21                      72220-0000            6789-061121              6/11/2021    7/6/2021        384.67            0.00      384.67

                                                                                                                     Check Total:     384.67            0.00      384.67

278          6/21/2021    06/21      DIRECTTV             DirecTV
 200PMO     DTVFoodCourts 6/8-7/7/21                      53610-0000            06.09.21                 6/9/2021     6/28/2021       179.99            0.00      179.99

                                                                                                                     Check Total:     179.99            0.00      179.99

279          6/21/2021     06/21      MAXTGROU            Maxtel Group
 200PMC     Troubleshoot & Rep Phone Sys                  72220-0000            37547                    6/9/2021     6/9/2021        150.00            0.00      150.00

                                                                                                                     Check Total:     150.00            0.00      150.00

280          6/21/2021     06/21       SOCALEDI           So. Cal. Edison Co.
 200PMO     P2_3170 4/22-5/20/21                          22620-0000          2472-060821                6/8/2021     6/8/2021       1,772.93           0.00     1,772.93
 200PMO     P1_Imp Sign 4/22-5/20/21                      22620-0000          2472-060821                6/8/2021     6/8/2021       2,816.35           0.00     2,816.35
 200PMO     P1_Imp Sign 4/22-5/20/21                      22620-0000          2472-060821                6/8/2021     6/8/2021       1,646.25           0.00     1,646.25
 200PMO     P2_3170 4/22-5/20/21                          52120-0000          2472-060821                6/8/2021     6/8/2021        -140.48           0.00      -140.48
 200PMO     P1_Imp Sign 4/22-5/20/21                      52110-0000          2472-060821                6/8/2021     6/8/2021         185.85           0.00       185.85
 200PMI     P1_Imp Sign 4/22-5/20/21                      52110-0000          2472-060821                6/8/2021     6/8/2021         108.63           0.00       108.63

                                                                                                                     Check Total:    6,389.53           0.00     6,389.53

281          6/21/2021    06/21      SOCALEDI             So. Cal. Edison Co.
 200PMI     700597511758 3100 4/21-5/19/21                22620-0000          3100-060821                6/8/2021     6/28/2021     26,018.94           0.00    26,018.94
 200PMI     700597511758 3100 4/21-5/19/21                73400-0000          3100-060821                6/8/2021     6/28/2021        161.58           0.00       161.58
 200PMI     700597511758 3100 4/21-5/19/21                52130-0000          3100-060821                6/8/2021     6/28/2021       -764.84           0.00      -764.84

                                                                                                                     Check Total:   25,415.68           0.00    25,415.68

282          6/21/2021    06/21      SOCALEDI             So. Cal. Edison Co.
 200PMO     700611698212 #201 4/21-5/19/21                22620-0000          8212-060821                6/8/2021     6/28/2021      1,354.43           0.00     1,354.43
 200PMO     700611698212 #200 4/21-5/19/21                22620-0000          8212-060821                6/8/2021     6/28/2021        461.59           0.00       461.59
 200PMO     700611698212 #203 4/21-5/19/21                22620-0000          8212-060821                6/8/2021     6/28/2021        156.09           0.00       156.09
 200PMO     700611698212 #201 4/21-5/19/21                72710-0010          8212-060821                6/8/2021     6/28/2021        -55.19           0.00       -55.19
 200PMO     700611698212 #200 4/21-5/19/21                72710-0010          8212-060821                6/8/2021     6/28/2021         45.04           0.00        45.04
 200PMO     700611698212 #203 4/21-5/19/21                72710-0010          8212-060821                6/8/2021     6/28/2021         17.31           0.00        17.31

                                                                                                                     Check Total:    1,979.27           0.00     1,979.27

283          6/21/2021     06/21       SOCALEDI           So. Cal. Edison Co.
                             Case 8:21-bk-10958-ES                Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                         Desc
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Database:    MDPROPERTIES                                                            Check Register                                                Page:            13
BANK:        PMDIP-02                                                                M+D Properties                                                Date:     7/15/2021
                                                                                       Axos Bank                                                   Time:     11:35 AM

                                                                                06/21 Through 06/21

                                       Vendor/Alternate
 Check #     Check Date     Check Pd   Address ID         Vendor Name                                 Invoice                    Invoice          Discount      Check
Entity       Reference                  P.O. Number       Account Number     Invoice Number           Date          Due Date     Amount            Amount      Amount


200PMO      700261538417 Park 4/21-5/19/21                22620-0000         PARK-060821              6/8/2021     6/28/2021      634.65             0.00     634.65
200PMI      700261538417 Park 4/21-5/19/21                22620-0000         PARK-060821              6/8/2021     6/28/2021      370.98             0.00     370.98
200PMO      700261538417 Park 4/21-5/19/21                52100-0000         PARK-060821              6/8/2021     6/28/2021       98.94             0.00      98.94
200PMI      700261538417 Park 4/21-5/19/21                52100-0000         PARK-060821              6/8/2021     6/28/2021       57.84             0.00      57.84

                                                                                                                  Check Total:   1,162.41            0.00    1,162.41

284          6/21/2021     06/21       KONE               Kone Inc.
 200PMI     EmergCall 5/2/21 #1 Pass Elev                 51560-0000         1158155327               5/25/2021    5/25/2021       874.96            0.00      874.96
 200PMI     EmergCall 5/7/21 #1 Pass Elev                 51560-0000         1158155878               5/26/2021    5/26/2021     1,031.36            0.00    1,031.36

                                                                                                                  Check Total:   1,906.32            0.00    1,906.32

285          6/21/2021      06/21      FEDEEXPR           Federal Express Corp.
 200PMC     Mail Rent Collections                         73530-0000        7-401-47043               6/11/2021    6/26/2021        21.22            0.00      21.22

                                                                                                                  Check Total:      21.22            0.00      21.22

286          6/28/2021        06/21    CHASECAR           Chase Card Services
 200PMO     Yelp MTM                                      53610-0000        DC-D07.2021               6/17/2021    7/11/2021      350.00             0.00     350.00
 200PMO     Cricket - Security Phone                      50110-0000        DC-D07.2021               6/17/2021    7/11/2021       45.00             0.00      45.00

                                                                                                                  Check Total:    395.00             0.00     395.00

287          6/28/2021      06/21      FEDEEXPR           Federal Express Corp.
 200PMC     Mail to Axos Bank                             73530-0000        7-408-61019               6/18/2021    6/18/2021        38.30            0.00      38.30

                                                                                                                  Check Total:      38.30            0.00      38.30

288          6/28/2021     06/21       OFFICENT           Officenet, Inc.
 200PMC     2 Copiers Overage 4/25-5/24/21                73050-0000         IN57361                  6/11/2021    6/11/2021        49.27            0.00      49.27

                                                                                                                  Check Total:      49.27            0.00      49.27

289          6/28/2021      06/21      POINTEXT           Point Exterminators Inc
 200PMI     Pest Control 5/28/21                          50600-0000         30343                    5/28/2021    5/28/2021      660.00             0.00     660.00

                                                                                                                  Check Total:    660.00             0.00     660.00

290          6/28/2021    06/21      SOCALEDI             So. Cal. Edison Co.
 200PMO     700128787954 1210 4/21-5/19/21                22620-0000          7954-061721             6/17/2021    7/7/2021       105.17             0.00     105.17
 200PMO     700128787954 1210 4/21-5/19/21                72710-0010          7954-061721             6/17/2021    7/7/2021        -7.97             0.00      -7.97
                             Case 8:21-bk-10958-ES                Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40                                  Desc
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Database:    MDPROPERTIES                                                          Check Register                                                           Page:              14
BANK:        PMDIP-02                                                              M+D Properties                                                           Date:       7/15/2021
                                                                                     Axos Bank                                                              Time:       11:35 AM

                                                                                 06/21 Through 06/21

                                        Vendor/Alternate
 Check #     Check Date      Check Pd   Address ID         Vendor Name                                 Invoice                            Invoice          Discount        Check
Entity       Reference                   P.O. Number       Account Number     Invoice Number           Date           Due Date            Amount            Amount        Amount



                                                                                                                    Check Total:             97.20            0.00         97.20

291          6/28/2021       06/21      SOCALEDI           So. Cal. Edison Co.                                       Unused - Continued Check
 200PML     Carried to 292                                 22620-0000          LTC-061721              6/17/2021     7/7/2021                 0.00            0.00          0.00

                                                                                                                    Check Total:              0.00            0.00          0.00

292          6/28/2021    06/21       SOCALEDI             So. Cal. Edison Co.
 200PML     700553471839 11217 4/21-5/19/2                 22620-0000          LTC-061721              6/17/2021     7/7/2021                75.94            0.00         75.94
 200PML     700093978593 11221 4/21-5/19/2                 22620-0000          LTC-061721              6/17/2021     7/7/2021               364.95            0.00        364.95
 200PML     700243254119 11225 4/21-5/19/2                 22620-0000          LTC-061721              6/17/2021     7/7/2021               190.85            0.00        190.85
 200PML     700616416048 11247 4/21-5/19/2                 22620-0000          LTC-061721              6/17/2021     7/7/2021               578.61            0.00        578.61
 200PML     700523189045 11329 4/21-5/19/2                 22620-0000          LTC-061721              6/17/2021     7/7/2021                88.88            0.00         88.88
 200PML     700551674006 11369 4/21-5/19/2                 22620-0000          LTC-061721              6/17/2021     7/7/2021               114.32            0.00        114.32
 200PML     700523238959 Park 4/21-5/19/2                  22620-0000          LTC-061721              6/17/2021     7/7/2021             1,604.58            0.00      1,604.58
 200PML     700553471839 11217 4/21-5/19/2                 52120-0000          LTC-061721              6/17/2021     7/7/2021                -5.05            0.00         -5.05
 200PML     700093978593 11221 4/21-5/19/2                 52120-0000          LTC-061721              6/17/2021     7/7/2021                19.13            0.00         19.13
 200PML     700243254119 11225 4/21-5/19/2                 52120-0000          LTC-061721              6/17/2021     7/7/2021                -8.38            0.00         -8.38
 200PML     700616416048 11247 4/21-5/19/2                 52120-0000          LTC-061721              6/17/2021     7/7/2021               -95.15            0.00        -95.15
 200PML     700523189045 11329 4/21-5/19/2                 52120-0000          LTC-061721              6/17/2021     7/7/2021                -8.22            0.00         -8.22
 200PML     700551674006 11369 4/21-5/19/2                 52120-0000          LTC-061721              6/17/2021     7/7/2021               -10.30            0.00        -10.30
 200PML     700523238959 Park 4/21-5/19/2                  52100-0000          LTC-061721              6/17/2021     7/7/2021              -119.29            0.00       -119.29

                                                                                                                    Check Total:          2,790.87            0.00      2,790.87

293          6/28/2021    06/21       SOCALEDI             So. Cal. Edison Co.
 200PMO     700378722703 3160 4/21-5/19/21                 22620-0000          OUT-061721              6/17/2021     7/7/2021               141.69            0.00        141.69
 200PMO     700440651846 3180 4/21-5/19/21                 22620-0000          OUT-061721              6/17/2021     7/7/2021               369.90            0.00        369.90
 200PMO     700359290771 3150 3/21-5/19/21                 22620-0000          OUT-061721              6/17/2021     7/7/2021             2,157.96            0.00      2,157.96
 200PMO     700262683219 Prod 4/21-5/19/21                 22620-0000          OUT-061721              6/17/2021     7/7/2021             4,499.32            0.00      4,499.32
 200PMO     700378722703 3160 4/21-5/19/21                 52120-0000          OUT-061721              6/17/2021     7/7/2021               -16.67            0.00        -16.67
 200PMO     700440651846 3180 4/21-5/19/21                 52120-0000          OUT-061721              6/17/2021     7/7/2021               -20.33            0.00        -20.33
 200PMO     700262683219 Prod 4/21-5/19/21                 72710-0010          OUT-061721              6/17/2021     7/7/2021              -119.15            0.00       -119.15

                                                                                                                    Check Total:          7,012.72            0.00      7,012.72

                                                                                                                 Axos Bank Total:       313,512.54            0.00    313,512.54


                                                                                                                    Grand Total:        313,512.54            0.00    313,512.54
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Case 8:21-bk-10958-ES   Doc 144 Filed 09/13/21 Entered 09/13/21 11:42:40   Desc
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